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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


STATE OF OREGON BY AND
THROUGH THE OREGON STATE                    Civil Action No.
TREASURER AND THE OREGON
PUBLIC EMPLOYEE RETIREMENT                  COMPLAINT
BOARD, ON BEHALF OF THE
OREGON PUBLIC EMPLOYEE                      JURY TRIAL DEMANDED
RETIREMENT FUND,

Plaintiff,

vs.

TEVA PHARMACEUTICAL INDUSTRIES
LTD.; EREZ VIGODMAN; EYAL DESHEH;
ALLAN OBERMAN; AND SIGURDUR
OLAFSSON;

                             Defendants.
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       Plaintiff, State of Oregon by and through the Oregon State Treasurer and the Oregon Public

Employee Retirement Board, on behalf of the Oregon Public Employee Retirement Fund

(“Oregon” or “Plaintiff”), brings this action to recover damages caused by Defendants’ violations

of the federal securities laws and to pursue remedies under Sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (“the Exchange Act”) and SEC Rule 10b-5, 17 C.F.R.§ 240.10b-

5. CTPF purchased or otherwise acquired Teva Pharmaceutical Industries Ltd. (“Teva” or the

“Company”) securities between February 6, 2014 and August 3, 2017, inclusive (the “Relevant

Period”) and was damaged thereby.

       Plaintiff alleges the following based upon personal knowledge as to its own acts and upon

information and belief as to all other matters based on the investigation conducted by and through

its attorneys. This investigation included, among other things, a review of Teva’s filings with the

United States Securities and Exchange Commission (“SEC”), transcripts of Teva’s conference

calls and announcements, wire and press releases published by and regarding Teva, analysts’

reports, various civil complaints alleging violations of federal and state antitrust and unfair

competition laws by Teva and its subsidiaries, generic drug pricing data from a nationally-

recognized source, and the amended consolidated class action complaint filed in Ontario Teachers’

Pension Plan Board v. Teva Pharmaceutical Industries Ltd., No. 3:17-cv-00558 (SRU) (D. Conn.

June 22, 2018) (“Ontario Teachers Complaint”). Plaintiff believes that substantial additional

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

I.     OVERVIEW OF THE ACTION

       1.      Teva, a pharmaceutical company based in Israel, develops, produces and markets

generic pharmaceutical products worldwide and is the leading generic drug company in the United

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States. This action arises from misrepresentations by Defendants to investors regarding Teva’s

purported financial success and performance during the period from February 6, 2014 to August

3, 2017, inclusive. Defendants consistently attributed Teva’s success to fundamental business

strategies, like cost cutting and good product management. In reality, however Teva’s reported

financial growth during the Relevant Period was the result of Defendants’ strategy to

systematically raise generic drug prices across a large portion of Teva’s generic drug portfolio (the

“Price-Hike Strategy”). The strategy was initiated in early 2013, with a first batch of price

increases taking place in July and August 2013.

       2.      In fact, during the Relevant Period, Teva imposed price increases at least 76 times.

These price increases were considered and approved by Teva’s senior officers, who tracked the

profits generated on a daily, weekly and quarterly basis. The price increases had the desired effect,

generating billions of dollars of additional revenue and profit attributable solely to the price

increases.

       3.      Defendants however concealed from investors that Teva’s rapid growth was driven

by its Price-Hike Strategy, falsely claiming that it was not increasing prices and that the

Company’s increased profitability was in fact due to other, more sustainable factors including

aggressive cost-cutting and improved operational efficiency.

       4.      Neither Teva, nor any of its peers, disclosed to the investing public any information

concerning individual drug prices, changes in price, or revenues per drug, let alone profits. Even

Wall Street analysts, intimately familiar with Teva's business and disclosures, had no way of

knowing whether Teva was profiting from systematic price increases, other than asking

Defendants, who denied that Teva's profits and performance were connected to price increases

       5.      For example, when asked whether Teva’s profits and performance were connected,


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     the Individual Defendants stated:

                   •        "(A]11 the improvement you see in our . . . margins is not driven by price.
                   It is driven by quantities and by mix and by efficiency measures. Not by price,
                   2014, 2015, and that's a very important message." (Defendant Vigodman, Oct. 29,
                   2015

                   •      "So how did we" achieve $1 billion in increased profit margin?" "Not
                   by pricing but by portfolio mix, new products, and efficiency measures."
                   (Defendant Olafsson, Feb. 11, 2016)

                   •       "Now there's a lot of noise around pricing issues. . . . Our exposure to all
                   these things is very minimal .... Teva was not associated with any of that.”
                   (Defendant Desheh, Nov. 19, 2015)

              6.       Contrary to these false statements, the Price-Hike Strategy yielded hundreds of

     millions of dollars of additional revenue and profit quarter over quarter through the second quarter

     of 2015. 1      Defendants concealed however that the Price-Hike Strategy was the primary

     contributor of this massive boost in profits.

              7.       Moreover, the strategy was inherently risky and unsustainable for several

     reasons, including that two-thirds of Teva’s increases were effected in tandem with other drug

     manufacturers. Wholesale purchasers of generic drugs routinely set pricing through

     competitive Request for Proposal ("RFP") bidding. Thus, when Teva raised prices, any

     manufacturer in the generic drug market could underbid Teva and wipe out Teva's market share.

     Moreover, the appearance of price gouging or collusion could draw public outrage, law

     enforcement scrutiny, and civil and criminal liability.

              8.       Defendants’ fraudulent statements permitted the Company to mislead the market

     and to complete a $40 billion acquisition of the Actavis generic drug division from Allergan plc

     in 2015. However, Teva’s price increases could not be sustained. By mid-2016, the Company



1
 The Complaint may at times refer to quarterly and annual accounting periods in this manner. Thus, 2Q15 refers to the second
quarter of 2015, and FYI 5 refers to the fiscal year ending 2015.
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succumbed to the pricing pressures of the generics market, and its stock price declined, costing

investors tens of billions of dollars.

        9.      Prior to the Relevant Period, Teva faced major headwinds. In 2012, Teva received

a subpoena from the SEC for alleged violations of the Federal Corrupt Practices Act (“FCPA”).

The SEC alleged that Teva bribed Russian, Eastern European, and Latin American countries to

gain market share of generic drugs and falsified its accounting. Teva later paid a $519 million fine

to the SEC and the U.S. Department of Justice (“DOJ”). No longer able to rely on bribes to foreign

officials, these pipelines dried up.

        10.     Teva’s U.S. pipeline was equally bleak. The Company’s U.S. generics business

reported dramatically lower revenues, year over year. A May 3, 2013 Deutsche Bank report

concluded that Teva’s overall generics business had “significantly underperformed.” By August

14, 2013, Teva’s then-Chief Executive Officer (“CEO”) and President Jeremy M. Levin (“Levin”)

acknowledged that “Generic growth in the United States [was] slowing fundamentally.”

Moreover, Teva would soon lose its patent protection on Copaxone, by far its largest specialty

drug, accounting for as much as 50% of Teva’s profits at that time. On October 30, 2013, Teva’s

Board of Directors forced Levin to step down, less than 18 months into the job.

        11.     In sum, Teva needed to reinvent itself. In January 2014, Teva announced the

appointment of Defendant Erez Vigodman (“Vigodman”) as its President and CEO, effective

February 11, 2014. He replaced Defendant Eyal Desheh (“Desheh”), Teva’s Chief Financial

Officer (“CFO”) from July 2008 through June 30, 2017 (except from October 30, 2013 to February

11, 2014, during which he served as Teva’s Interim CEO and President). From the time Vigodman

took over in January 2014, it immediately became clear that Teva’s plan was to acquire new

businesses potentially using Teva’s American Depositary Shares (“ADS”) as currency. As Desheh

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explained on a Q4 2013 earnings call (February 6, 2014), Teva was, with respect to potential

“business opportunities,” “open for business.” During the March 4, 2014 Cowen Healthcare

Conference, Desheh made plain Teva’s intentions (and need to boost its stock price by any means)

when he noted that, with “the [stock] price under $40, … we can’t use [Teva Securities as]

currency” for the large acquisition he had touted two months earlier.

        12.     To achieve its growth-through-acquisition strategy, Teva had to improve its profits

and its share price. Although Teva was touting, as early as October 30, 2013, a turnaround plan

based upon an “accelerate[d]” cost reduction plan and “a much better, efficient generic machine[,]”

in reality, Teva was improving its profitability through enormous price increases for drugs for

which the Company had (i) some degree of independent market power, (ii) the ability to engage

in parallel price increases with other drug companies (because of limited competition), or (iii) the

ability to engage in outright price collusion in violation of the antitrust laws. Pursuant to its price

increase scheme, Teva increased the prices on as many as 55 drugs by as much as 1700%. While

Teva had begun price increases in July and August 2013, such price increases continued into 2014

and 2015, and involved at least 55 separate drugs. Many of these price increases exceeded 500%

and some exceeded 1000% and even 1500%.

        13.     As a result of these huge price increases, Teva’s U.S. generic segment revenues

increased by nearly 15% from $4.18 billion in 2013, to $4.79 billion in 2015, and then decreased

to $4.56 billion in 2016, as the inevitable pricing pressure took its toll on the price increase strategy.

        14.     For a time, Teva’s plan worked—its share price increased from just over $37 per

share in September 2013 to more than $70 per share by July 2015. However, Teva well knew that

a strategy for increasing profitability based upon increasing drug prices could not be sustained

because the U.S. Food & Drug Administration (“FDA”) was devoting increasing resources to

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approving Accelerated New Drug Applications (“ANDA”) through which generic manufacturers

could bring generic drugs to market on a fast-tracked basis. Thus, critical to Teva’s strategy was

masquerading the true basis for its increased profits and revenues. Avoiding the taint of price

increases became particularly important because of the public scrutiny afforded price increases in

formerly inexpensive generic drugs. As a result of the initial Teva price increases in July and

August 2013 and similar price increases by other generics manufacturers, in January 2014, the

National Community Pharmacists Association (“NCPA”) wrote to the U.S. Senate Health

Education Labor and Pensions (“HELP”) Committee and the U.S. House Energy and Commerce

Committee requesting hearings on the significant spike in generic pharmaceutical pricing. On July

8, 2014, The New York Times addressed pricing issues in an article titled, “Rapid Price Increases

for Some Generic Drugs Catch Users by Surprise,” highlighting a 100% price increase for digoxin,

a longtime generic drug.

       15.     As a result of the N.Y. Times article, the Connecticut Attorney General (“CT AG”)

began an investigation on pricing issues with a focus on digoxin. Other state attorneys general

(“AGs”) followed suit. On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative

Elijah E. Cummings sent letters to Teva and thirteen other generic drug companies asking for

detailed information on various generic drug price hikes. Teva never responded to these letters.

       16.     In November 2014, the U.S. Department of Justice (“DOJ”), which had also opened

an investigation into price fixing of generic drugs, convened a grand jury in the U.S. District Court

for the Eastern District of Pennsylvania, pursuant to which subpoenas were issued to Teva and ten

other generic drug makers.

       17.     In response to this increasing outside focus on its ever-accelerating increases in

generic drug prices, Teva sought at all costs to avoid any suggestion that price increases were the

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        cause of its seemingly miraculous turnaround. Accordingly, at the beginning of the Relevant

        Period (February 6, 2014), Teva touted its increase in revenues to higher sales volumes and

        launches of new generic drugs. Nothing was said about the eighteen drug price increases from

        the summer of 2013. In May 2014, Teva again touted its first quarter 2014 results, similarly relying

        on “new product launches” and a changed composition of revenues to explain its increased

        profitability. On October 30, 2014, during the third quarter 2014 earnings call, Teva was

        specifically asked about the impact of price increases, but Defendant Sigurdur “Siggi” Olafsson

        (“Olafsson”) deflected, suggesting that there were no significant increases since “the base business

        itself is slowly eroding . . . .” And at the end of 2014, Defendant Olafsson, President and CEO of

        Teva’s Global Generic Medicines Group (since July 1, 2014), rejected the premise of the question,

        stating: “[L]et me correct. I have to disagree that they have experienced tremendous price

        increase[s].”2

                 18.      Throughout the remainder of 2015 and into 2016, Defendants flatly denied that

        Teva’s improved performance was the result of price increases. For example, on February 11,

        2016, Olafsson falsely insisted that Teva achieved $1 billion in increased profits “[n]ot by pricing

        but by portfolio mix, new products and efficiency measures.” Vigodman made a similar

        pronouncement on October 29, 2015:

                 [A]ll the improvements you see in margins is not driven by price. It is driven by
                 quantities, and by mix, and by efficiency measures not by price, 2014, 2015. And
                 that’s a very important message.

        These statements were demonstrably false—by mid-July 2015, Teva had raised prices on more

        than 61 drugs, including many by more than 250%.

                 19.      On July 27, 2015, when Teva’s stock was trading at an all-time high, Teva’s growth



2
    Unless otherwise stated, all emphasis is added.
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through acquisition plan came to fruition when it announced the purchase of Allergan’s generics

division, Actavis. The deal, which was expected to close in mid-2016, would cost Teva

approximately $40 billion, most of which was to be funded through a massive debt offering (as

well as a smaller ADS and preferred stock offering). While the debt offering initially was

scheduled to take place after the close of the transaction, in July, 2016, recognizing that the price

increase scheme could no longer be maintained, Teva announced that the debt offering would be

accelerated to the end of the month. The deal closed on August 2, 2016.

       20.     Just two days after the closing of the Actavis transaction, on August 4, 2016, Teva

reported second quarter 2016 financial results that reflected a $434 million decline in revenues in

its U.S. generics segment compared to the second quarter of 2015. Teva also revealed for the first

time that it was the subject of DOJ and state AG investigations into price collusion.

       21.     Shortly thereafter, on September 12, 2016, the U.S. Government Accountability

Office (“GAO”) issued an audit report (“GAO Report”) that generic drug manufacturers had

engaged in hundreds of unexplained “extraordinary price increases,” including price increases of

more than 1,000%. Teva owned the rights to many of the drugs identified in the GAO Report as

having exhibited an extraordinary price increase between 2013 and 2015.

       22.     Then, on November 3, 2016, media outlets reported that U.S. prosecutors might file

criminal charges against Teva and others for unlawfully colluding to fix generic drug prices. On

November 15, 2016, Teva reported third quarter 2016 revenues below consensus expectations,

which Olafsson stated were a result of pricing pressures in Teva’s U.S. generics business.

       23.     On December 15, 2016, the CT AG and nineteen other AGs filed a civil complaint

in the U.S. District Court for the District of Connecticut against various generic pharmaceutical

manufacturers, including Teva Pharmaceuticals USA, Inc. (“Teva USA”), for alleged


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anticompetitive activity.

       24.     As Teva’s financial condition deteriorated and the scrutiny surrounding the AGs’

allegations and the GAO Report mounted in the latter half of 2016, Teva’s stock price

precipitously declined. In relatively short order, the key executives responsible for the U.S.

generics business left the Company or were fired, including Olafsson who was fired on December

5, 2016; Vigodman who was terminated on February 6, 2017; and Desheh who left on June 30,

2017. The “inauspicious tim[ing]” of these departures was not lost on market watchers like The

Street which reported that Olafsson’s departure “rais[ed] more questions for investors amid

continued worries around drug pricing.”

       25.     On August 3, 2017, in the first financial report issued after Desheh, Vigodman and

Olafsson departed the Company, Teva announced a $6.1 billion write down of its entire U.S.

generics business, which had been artificially inflated as the result of its ultimately unsustainable

price increase scheme.

       26.     From July 2015 through the end of the Relevant Period, the price of Teva’s ADS

collapsed from an all-time high of $72 per share to just over $20, causing Teva’s market

capitalization to decline from more than $70 billion to just over $20 billion. As a result of

Defendants’ acts and omissions, and the substantial decline in the market value of Teva’s

securities, Plaintiff suffered significant damages.

       27.     Plaintiff’s claims arise from four interrelated categories of misstatements and

omissions, alleged particularly below. First, Defendants explicitly attributed Teva's financial

performance to legitimate and benign business strategies, including cost cutting and product

selection. Having attributed the source of Teva's revenues, Defendants were required to disclose

the reality that Teva's performance was driven by the undisclosed Price-Hike Strategy.

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Second, Defendants falsely denied that Teva had engaged in price increases or received

material benefit therefrom. Rather, Defendants claimed that Teva only raised prices on a few

generic drugs when a market shortage occurred. Third, Defendants falsely claimed that Teva

was immune to pricing pressures, though in reality, it was unable to sustain the undisclosed

Price-Hike Strategy. Fourth, Defendants repeatedly stated that Teva was excelling in a highly

competitive environment. That was far from the truth, as Teva was only able to adopt an

pursue the Price-Hike Strategy because of a lack of competition. Fifth, Defendants failed to

disclose the receipt of the State AGs’ and DOJ subpoenas relating to investigations into price

collusion in the generic pharmaceuticals industry and the impact of such investigations on

Teva.

        28.    Moreover, under Item 303 of SEC Regulation S-K and Item 5 of Form 20-F,

Defendants were obligated to disclose that the Price-Hike Strategy was impacting Teva's

profits, both as they dramatically increased, and later as they evaporated.

        29.    Additionally, Teva, and certain other Defendants, colluded with other generic

pharmaceutical manufacturers to fix prices for numerous generic drugs, which exhibited both

parallel price increases with Teva's competitors and other indicia of collusion. These allegations

are corroborated by Plaintiff's counsel's investigation as well as by the facts identified through

the State AGs' allegations that Teva engaged in a vast industry-wide price-fixing conspiracy.



II.     JURISDICTION AND VENUE

        30.    The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.


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       31.     This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and under 28 U.S.C. § 1331, because this is a civil

action arising under the laws of the United States.

       32.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b).

       33.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications, and the

facilities of the national securities exchange, namely the New York Stock Exchange (“NYSE”).

III.   PARTIES

       A.      Plaintiff


       34.     Plaintiff, Oregon, operates and oversees public funds for the benefit of retired

public employees. The Oregon Public Employee Retirement Fund is a state pension fund for

retired public employees overseeing $77 billion in assets under management as of April 30, 2018.

Oregon purchased or acquired Teva securities during the Relevant Period on the New York Stock

Exchange at prices that were artificially inflated by the materially false and misleading statements

and omissions of material fact complained of herein, in violation of federal securities laws, and

suffered damages as thereby.

       B.      Defendants

       35.     Defendant Teva is incorporated in Israel with its principal executive offices at 5

Basel Street, P.O. Box 3190, Petach Tikva, 4951033, Israel. Teva’s U.S. wholly-owned subsidiary

Teva USA has its principal offices at 1090 Horsham Road, North Wales, Pennsylvania, 19454.

Teva engages in interstate commerce within this District and regularly transacts business within
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the State of Connecticut. Teva ADS are listed and traded on the NYSE under the symbol “TEVA.”

Teva ADS are traded in the United States.

       36.     Defendant Vigodman was Teva’s President and CEO from February 11, 2014

through February 6, 2017, and a Director from June 22, 2009 through February 6, 2017. Vigodman

signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the SEC during

the Relevant Period, as set forth herein. Vigodman also made false and misleading statements on

numerous conference calls with investors and analysts, as alleged specifically herein. During his

tenure at Teva, Vigodman possessed the power and authority to, and in fact did approve and control

the contents of the Company’s SEC filings alleged to be false and misleading.

       37.     Defendant Desheh was Teva’s CFO from July 2008 through June 30, 2017, except

from October 30, 2013 to February 11, 2014, during which he served as Teva’s Interim CEO and

Interim President. Desheh also was Teva’s Group Executive Vice President (“EVP”) from 2012

to June 30, 2017. Desheh signed and certified certain of Teva’s reports on Forms 20-F and 6-K

filed with the SEC during the Relevant Period, as set forth herein. Desheh also made false and

misleading statements on numerous conference calls with investors and analysts, as alleged

specifically herein.

       38.     Defendant Allan Oberman (“Oberman”) was President and CEO of Teva Americas

Generics from November 5, 2012 until December 31, 2014. As President and CEO of Teva’s

Americas Generics business, Oberman possessed the power and authority to control the contents

of the Company’s reports to the SEC concerning Teva’s U.S. generics business and was provided

with copies of the Company’s reports and press releases alleged herein to be misleading before, or

shortly after, their issuance and had the ability and opportunity to prevent their issuance or cause

them to be corrected.

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       39.     Defendant Olafsson was President and CEO of Teva’s Global Generic Medicines

Group from July 1, 2014 until December 5, 2016. Prior to joining Teva, Olafsson held senior

leadership and other positions, within Actavis between 2003 and 2014. As President and CEO of

Teva’s Global Generics Medicines Group, Olafsson possessed the power and authority to control

the contents of the Company’s reports to the SEC concerning Teva’s U.S. generics business and

was provided with copies of the Company’s reports and press releases alleged herein to be

misleading before, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected.

       40.     Defendants Vigodman, Desheh, Oberman, and Olafsson are sometimes referred to

herein collectively as the “Individual Defendants.”

IV.    FACTUAL ALLEGATIONS

       A.      The Regulation of Generic Drugs in the U.S. Is Structured to Create a
               Competitive Market for the Benefit of Consumers

       41.     Since the implementation of the Drug Price Competition and Patent Term

Restoration Act (known as the “Hatch-Waxman Act”) in 1984, generic drugs have had a significant

impact on healthcare in the U.S., resulting in tens of billions of dollars in annual savings for

consumers and the overall healthcare system. The Hatch-Waxman Act was initially enacted to

simplify the regulatory hurdles for bringing generic drugs to market and eliminated the prior

requirement that generic drug companies file costly New Drug Applications (“NDA”) to obtain

FDA approval. The Hatch-Waxman Act is designed to get less expensive generic drugs into the

hands of consumers expeditiously. Under the revised process, generic drug companies can instead

file an ANDA. A generic drug company that submits an ANDA generally is not required to include

clinical trial data to establish the safety and efficacy of the drug. Instead, the company can “piggy-

back” on the safety and efficacy data supplied by the original NDA holder for a given drug.
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             42.      Generic drugs must meet certain bioequivalence and pharmaceutical equivalence

     standards set by the FDA to ensure that the generic drug is essentially an exact substitute for the

     brand-name drug. To receive FDA approval through an ANDA, a generic drug must contain the

     same active ingredient, in the same dosage form, in the same strength, to be bioequivalent to the

     original brand-name version approved by the FDA through an NDA. The FDA uses a review

     process to ensure that brand-name and generic drugs that are rated “therapeutically equivalent”

     have the same clinical effect and safety profile. According to the FDA: “[p]roducts classified as

     therapeutically equivalent can be substituted with the full expectation that the substituted product

     will produce the same clinical effect and safety profile as the prescribed product.” 3 The FDA

     assigns generics that are deemed to be therapeutically equivalent to their brand-name counterparts

     an “AB” rating.

             43.      The Hatch-Waxman Act also provides a 180-day exclusivity period for the first

     generic drug company that files an ANDA and simultaneously challenges the validity of the patent

     for a brand-name drug. This exclusivity period, which allows the generic drug company to market

     its generic version free from competition, is intended to spur generic drug companies to provide

     alternatives to brand-name drugs. When generic drugs enter the market, they are often priced well

     below the brand-name drugs and quickly take a large market share from the brand-name drug

     company. The first generic drug will generally be priced 15% to 20% below the brand-name drug.

     Once the exclusivity period ends and more generic versions enter the market, the price of the

     generic drugs continues to fall and their combined share of the market for that drug, relative to the

     brand-name equivalent, continues to grow. The price of the generic versions of a given drug can



3
 See Approved Drug Products with Therapeutic Equivalence Evaluations (“Orange Book”), 37th Ed., 2017, Department of
Health and Human Services – Food and Drug Administration, at vii.

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fall to as little as 10% to 20% of the original price for the brand- name drug. This competition

allows purchasers to buy the generic equivalent of a brand-name drug at substantially lower prices.

As Stephen W. Schondelmeyer, Professor of Management & Economics at the University of

Minnesota, College of Pharmacy, explained in his testimony before the Senate HELP Committee:

        The Congressional Budget Office has credited the Hatch-Waxman Act and,
        importantly, the process for easy and routine A-rated generic substitution by
        pharmacists with providing meaningful economic competition from generic
        drugs, and with achieving billions of dollars of savings for drug purchasers such
        as consumers and employers.
        44.     The Maximum Allowable Cost (“MAC”) pricing regime also serves to control drug

prices. Under this regime, individual states or pharmacy benefits managers (“PBMs”) - third party

administrators of prescription drug programs - establish a MAC for drug products using a variety

of inputs. If the cost for a pharmacy to dispense a given drug exceeds the MAC, the pharmacy will

either opt to substitute a less expensive version, if available, or sell the drug at a loss to service the

patient. This MAC framework incentivizes pharmacies to fill prescriptions with the least

expensive, therapeutically equivalent version of a drug to maximize their potential profits.

Between 2005 and 2014, generic drugs saved the U.S. healthcare system more than $1.6 trillion.

        B.      In 2010-2014, a Backlog of ANDA Approvals at the FDA Created a Window
                of Reduced Competition in the Generic Drug Market

        45.     One of the keys to reducing drug prices is ensuring that there is substantial

competition in generic drug markets. Given that generic drug makers bear none of the large

research and development expenses borne by brand-name manufacturers, the primary impediment

to entry into the generic market is obtaining ANDA approval from the FDA. Accordingly, the

overall cost of prescription drugs for the public is reduced by faster generic drug approval times.

Historically, the average time between generic drug application submission and approval ranges

from six months to several years, depending on the complexity of the drug. That approval time had

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varied over time, however, based upon the number of generic drugs seeking approval and the

review resources available to the FDA.

       46.     By 2012, FDA resource problems similar to those plaguing the new drug market in

the late 1980s had become a significant limitation on the approval of ANDA for generic drugs. In

2012, the FDA was facing a backlog of over 2,800 unexamined ANDA. This overload was driven

by the relative ease with which manufacturers could obtain generic drug approvals as a result

of Hatch-Waxman, and the lack of a respective increase in FDA reviewers to process the

applications. By 2012, the average waiting period for an ANDA approval had increased to 31

months.

       47.     The backlog of unapproved drugs, which limited generic competition, created a

window in which generic companies had the ability to increase prices. For example, the September

2016 GAO Report found that more than 300 of the 1,441 established generic drugs examined by

the study had one or more instances of “extraordinary price increases”—i.e., “periods of prices at

least doubling” between the first quarter of 2010 and the first quarter of 2015. In 2014 alone, more

than 100 generic drugs experienced these extraordinary price increases. For 48 of these 100 drugs,

the price increases were 500% or higher.

       C.      By 2013, Teva Was Performing Poorly and Facing a Collapsing ADS Price

       48.     Heading into 2013, Teva faced a number of significant issues. First, by 2012,

Teva’s ADS price had fallen from a high of over $60 in 2010, to the upper-$30s.

       49.     Second, in 2012, Teva received subpoenas from the SEC relating to a Foreign

Corrupt Practices Act investigation into Teva’s bribery scheme to generate sales and gain market

share of generic drugs in Russia, Ukraine and Mexico (Complaint at ¶2, SEC v. Teva Pharm. Indus.,

No. 1:16-cv- 25298 (KMM) (S.D. Fla. Dec. 22, 2016), ECF No. 1). The SEC also alleged that Teva

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deliberately falsified its accounting. Teva’s generics revenues from “Rest of World” markets

(“ROW”) (including those subject to the FCPA investigation) fell approximately $280 million in

2013. Ultimately, Teva paid a $519 million fine and entered into a deferred prosecution agreement.

The investigation put pressure on the revenue pipelines from these countries.

        50.     Third, Teva’s U.S. generics business reported dramatically lower revenues, year

over year. In fact, Teva was the worst performing generic drug company compared to its peers, despite

being the largest. As a Deutsche Bank analyst concluded in a May 3, 2013 report, Teva’s overall

generics business had “significantly underperformed.”

        51.     Fourth, Teva would soon lose its patent protection on Copaxone, which was far
and away its most important drug, accounting for as much as 40% of Teva’s operating profits at

that time. Due to this impending loss of exclusivity, Teva knew it could face generic competition

to Copaxone as early as mid-2014.

        52.     On October 30, 2013, Teva’s Board of Directors forced CEO Levin to step down

less than 18 months after he had taken the job. Given the sudden nature of Levin’s termination, the

Board named Defendant Desheh, Teva’s Executive Vice President and CFO, to fill the role of

President and CEO on an interim basis, effective immediately, and formed a committee to search

for a permanent successor.

        53.     In an October 30, 2013 investor call relating to Levin’s firing, then-Chairman

Phillip Frost and Desheh assured investors that they were focused on turning the Company around.

Desheh informed the market that Teva “ha[d] decided to accelerate” the cost reduction plan and

promised “to create a much better, efficient generic machine.” Chairman Frost disclosed that

“friends of [his] . . . have bought hundreds of millions of dollars of stock during the last couple of

weeks. . . .”

        54.     In reality, just months earlier, recognizing that the backlog in ANDA approvals at
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      the FDA discussed above had, at least temporarily, restricted competition for some generic drugs,

      Teva had undertaken a risky gamble to improve its results – substantial price increases for certain

      of its drugs. In July and August 2013, Teva increased prices on a number of drugs:

               Oxybutynin Chloride Tablets; Nadolol Tablets; Fluconazole Tablets; Methotrexate
               Sodium Tablets; Cimetidine Tablets; Prazosin Capsules; Ranitidine HCL Tablets;
               Enalapril Maleate Tablets;
               Doxazosin Mesylate Tablets; Etodolac Tablets; Pravastatin Sodium Tablets;
               Ketoprofen Capsules; Etodolac SR Tablets; Tolmetin Sodium-Capsules;
               Clemastine Fumarate; Diltiazem HCL Tablets; Ketorolac Trometh Tablets;
               Diclofenac Potassium Tablets4

               55.       By October 2013, this desperate gamble had not yet fully borne fruit – costing CEO

      Levin his job.

               D.        By 2014, Defendants Were Fully Aware that Price Hikes for Generic Drugs
                         Could Not Be Maintained for an Extended Period

               56.       Recognizing the enormous backlog the FDA was experiencing in its ANDA

      approval process, and the attendant negative impacts on competition in the provision of generic

      drugs, Congress enacted the Generic Drug User Fee Amendments (“GDUFA”) to provide the FDA

      with a supplemental revenue source to spur the approval process. GDUFA went into effect in

      October of 2012, and instituted user fees on ANDA and other facility fees to generate $1.5 billion

      over the life of the five-year program. The goal of GDUFA was to eliminate the ANDA backlog

      and reduce the average review time to ten months or less. The expectation was that, once the fees

      flowed into the system and new FDA reviewers were hired and trained, backlogs would decrease

      and competition would increase, severely curtailing generic drug makers’ ability to increase prices.

      Thus, by late 2012/early 2013, generic manufacturers knew that within the next 1-2 years, ANDA

      approvals would be on the rise and any ability they had to raise prices would be severely curtailed.




4
    The specific timing and price increases for these drugs are set forth in charts in Sections IV.F.2-4 and in Appendix A hereto.
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             57.      With the additional funds provided by GDUFA came an FDA commitment to reach

     a variety of goals, including accelerating the review process and eliminating the mounting backlog

     of ANDA. One such commitment the FDA took was to act on 90% of all backlogged ANDA by

     the end of fiscal year (“FY”) 2017. In a keynote address at the Generic Pharmaceutical

     Association annual meeting in the spring of early 2015, the Director of the FDA’s Office of

     Generic Drugs, Kathleen Uhl, M.D., pledged accelerated action. The FDA delivered on Director

     Uhl’s promise, hiring nearly 1,200 new employees in 2015—more than the preceding two years

     combined.

             58.      As the graph below depicts5, the number of full approvals and tentative approvals

     of generic drugs began to reach record heights in or around April 2015:




             59.      On November 9, 2015, InsideHealthPolicy reported in an article entitled, “FDA,



5
  Implementation of the Generic Drug User Fee Amendments of 2012 (GDUFA), Testimony of Janet Woodcock, M.D.,
Director, Center for Drug Evaluation and Research, U.S. Food and Drug Administration, Before the Committee on Oversight
and Government Reform, U.S. House of Representatives, Feb. 4, 2016, at 7.
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Pressed to Clear Generic Drug Backlog, Says It Is Ahead of Schedule,” that the FDA had taken

action on 82% of the backlog “as a rising chorus of voices, including Democratic presidential

candidate Hillary Clinton, press the agency to clear the backlog to help counter rising

pharmaceutical prices.” All told, in 2015, more than 700 generic drugs were approved or

tentatively approved by the FDA—the highest figure in the FDA’s history.

       60.     In addition to the increase in generic competition that would result from the

adoption of GDUFA and subsequent increase in the FDA’s ANDA review capabilities, Teva had

other reasons to believe that its ability to increase prices would be a short-term phenomenon that

would not extend beyond 2015 or 2016—at the latest.

       61.     As a result of the initial price increases by Teva and others in 2013, in January 2014,

the NCPA wrote to the U.S. Senate HELP Committee and the U.S. House Energy and Commerce

Committee regarding generic pharmaceutical pricing. The letter stated that “many of our members

across the U.S. … have seen huge upswings in generic drug prices that are hurting patients and

pharmacies ability to operate.” It further noted that “77% of pharmacists reported 26 or more

instances over the past six months of a large upswing in a generic drug's acquisition price.” It

asked that the Senate “schedule an oversight hearing to examine what factors may have led to these

unmanageable spikes in generic drugs.”

       62.     On July 8, 2014, The New York Times addressed pricing issues with generic drugs

in an article titled, “Rapid Price Increases for Some Generic Drugs Catch Users by Surprise,”

highlighting a nearly 100% price increase for digoxin, a longtime generic drug that Teva did not

produce. The article stated:

       Though generic medicines are far cheaper to bring to market than brand-name drugs
       because they involve little research and development, they also are priced lower
       because generics typically face intense competition. But Dr. Aaron Kesselheim, a
       professor of health economics at the Harvard School of Public Health, noted,

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       “Studies show it is not until you have four or five generics in the market that the
       prices really are down.”

       63.     As a result of the New York Times article, the CT AG began an investigation on

pricing issues with a focus on digoxin. Other AGs quickly followed suit.

       64.      On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative Elijah

 Cummings sent letters to Teva and thirteen other generic drug companies asking for detailed

 information on various generic drug price hikes. The letter stated: “We are conducting an investigation

 into the recent staggering price increases for generic drugs used to treat everything from common

 medical conditions to life-threatening illnesses.” It specifically noted that:


       We are writing to your company to request information about the escalating prices
       it has been charging for two drugs: Divalproex Sodium ER, which is used to prevent
       migraines and treat certain types of seizures, and Pravastatin Sodium, which is used
       to treat high cholesterol. According to data provided by the Healthcare Supply
       Chain Association (HSCA), the average prices charged for these drugs have
       increased by as much as 736 percent for Divalproex Sodium and 573 percent for
       Pravastatin Sodium from October 2013 to April 2014.

Teva never responded to this letter.

       65.     On November 10, 2014, The Wall Street Journal reported that the DOJ was

investigating generic drug manufacturers for violations of the antitrust laws. Later that month, the

DOJ convened a grand jury in the Eastern District of Pennsylvania, pursuant to which subpoenas

were issued to Teva and at least ten other generic drug manufacturers.

       66.     On November 20, 2014, the Senate Subcommittee on Primary Health and Aging

held a hearing entitled “Why Are Some Generic Drugs Skyrocketing In Price?” In his opening

remarks, Senator Sanders noted that

       According to Medicare and Medicaid data, between July 2013 and July 2014, half
       of all generic drugs went up in price. During this same time period, over 1,200
       generic drugs, nearly 10 percent of all generic drugs, more than doubled in price.
       More than doubled in price. In fact, these drugs went up in price by an average of
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             448 percent. Dozens of drugs went up by 500, 600, 1,000 percent.

     Other Senators noted the need to reduce the FDA backlog in ANDA approvals to spur generic

     competition—a process that was then ongoing.

             67.     As a result of the adoption of GDUFA in 2012, and the intense scrutiny by

     Congress, regulators and the press in generic drug pricing (spurred largely by drug price

     increases in 2013 and 2014), Teva knew that its ability to obtain additional revenues by raising

     prices was a short-term phenomenon that would not persist for more than a relatively short (1-2

     year) period of time. Investors were also aware that the flood of new generics to the market would

     lead to increased competition and lower prices. Teva therefore knew that acknowledging price

     increases could alert investors that any success the Company was experiencing would be short

     term.

             E.      Vigodman Becomes CEO and Teva Announces Its Strategy to Use Its Stock
                     as Currency for a Major Acquisition

             68.     In January 2014, Teva announced the appointment of Vigodman as its President

     and CEO, effective February 11, 2014. From the time Vigodman was hired, it immediately became

     clear that Teva’s plan was to solve its long-term issues through a major acquisition by using its

     stock to facilitate a deal. This strategy was the direct result of Teva’s planning for the end of its

     patent for Copaxone in 2017. Copaxone is used to treat multiple sclerosis and was a huge success

     for Teva, providing as much as 40% of Teva’s operating profit in some years. “Teva’s management

     anticipated the patent and pricing issues well in advance, and decided that the company should buy

     its way out of the problem through major acquisitions.”6

             69.     Thus, at a January 14, 2014 J.P. Morgan Healthcare Conference, Defendant Desheh


6
 David Segal and Isabel Kershner, “‘Nobody Thought It Would Come To This’: Drug Maker Teva Faces A Crisis,” N.Y.
Times (Dec. 27, 2017), at B1.
                                                         22
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explained that Teva was in a position to make “more than a small acquisition or in- licensing

transaction.” He specifically noted that this “major commitment” was supported by the recent

recruitment of Vigodman who would “emphasize (potentially large) acquisitions more readily than

his predecessor,” ideally using Teva’s ADS as “currency.”

       70.     On March 4, 2014, at a Cowen Health Care Conference, Desheh noted that, with

“the stock price under $40, … we can’t use [Teva Securities as] currency” for the large acquisition

he had touted two months earlier.

       F.      Teva Substantially Increases Prices on a Multitude of Drugs to Prop Up Its
               Declining Revenues and Increase Its Share Price

       71.     The arrival of Vigodman caused Teva to substantially intensify its undisclosed plan

to increase the prices it charged for an array of its generic drug offerings. Including the multiple

drugs where it had raised prices in 2013, beginning in April 2014 and extending through July 2015,

Teva raised prices on additional drugs and, in total, raised prices on at least 55 drugs. These

undisclosed price increases fit into one of three categories: (1) 28 drugs where Teva was the only

(or only major manufacturer) increasing the price of the generic drug; (2) 24 drugs where Teva’s

price increase occurred in parallel with increases by other manufacturers; and (3) three drugs where

governmental investigations have indicated there may have been active collusion between Teva

and other manufacturers. In total, the price increases swelled Teva’s revenue by billions of dollars.

               1.      Teva Unilaterally Increased Prices on Dozens of Drugs

       72.     Beginning in 2013 and extending through early 2016, Teva recognized that the

FDA’s ANDA backlog had bestowed it with significant market power with respect to a number

of drugs. In response, Teva unilaterally increased prices on at least 28 generic drugs by significant

amounts. The drugs and the dates and amounts of increases are set forth below:


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                                                                            Percentage                Increased
       Generic Drug                      Period of Increase7                 Increase8                Revenue9
      Anagrelide HCL                         3/14-12/15                         243%                  $17,134,558
         Cimetidine                           6/13-6/18                         869%                  $12,797,442
     Ciprofloxacin HCL                       12/14-1/17                        1111%                 $102,373,807
       Clemastin Fum                         7/13-12/16                         223%                   $3,410,833
        Clotrimazole                         8/14-12/17                         500%                   $3,193,627
     Cromolyn Sodium                          7/14-6/18                         392%                   $6,029,503
    Cyrpoheptadine HCL                       3/14-11/17                         110%                   $7,460,259
         Diclofenac                           1/13-8/15                         310%                  $21,783,410
    Dicloxacillin Sodium                      3/14-8/17                         98%                   $13,326,041
       Diltiazem HCL                          7/13-1/16                         205%                  $38,020,901
        Etodolac SR                           7/13-1/14                         200%                  $49,403,608
      Fluoxetine HCL                          1/15-6/18                         769%                  $29,043,960
         Flutamide                           11/15-7/16                         55%                      $88,170
     Fosinipril Sodium                        2/15-9/15                         60%                    $3,928,025
        Griseofulvin                          2/15-3/16                         276%                  $16,148,357
     Hydroxyzine Pam                          3/14-1/18                         173%                  $11,019,351
         Ketoprofen                           7/13-5/18                         746%                   $6,131,456
     Ketorolac Trometh                        7/13-5/16                         409%                  $36,732,068
      Loperamide HCL                          8/14-2/16                         119%                  $15,651,417
       Megestrol Ace                          2/15-6/15                         35%                     $762,856
    Methotrexate Sodium                       6/13-1/15                         579%                 $138,314,084
        Methydolpa                            1/15-2/17                         216%                    $645,886
      Mexiletine HCL                          8/14-4/17                         124%                  $23,345,258
      Nefazodone HCL                         8/14-11/16                         120%                  $23,479,496
     Nortriptyline HCL                        1/15-9/16                         158%                  $20,967,422




7
  A nationally recognized database was used to calculate prices per unit. The data reflect prices at wholesale, but do not
reflect off-invoice discounts and rebates. The data show sales prices reflecting the inventory in any given month. Even though
price increases may be set at a particular point in time, because the data tracks actual market pricing, these prices increases
can take time to work through the system as older stocks with lower prices are sold and replaced by newer stocks with higher
prices. The period of increase is calculated with respect to the beginning of the price increase and the month of the peak price
after the price increase.
8
 This represents the percentage increase for the most commonly prescribed dosage level for the period in the prior column.
All dosages and relevant periods are set forth in Appendix A hereto.
9
  To determine increased revenue, the month prior to the price increase was identified. Then it was assumed that this “but-
for” price would have continued from that point onward had the price increase not occurred. The increased revenue is the
difference between the actual monthly prices and the pre-increase price, multiplied by total quantity. Increased revenue is
only calculated for months where the actual price is greater than the pre-increase price. This calculation is performed
separately for each formulation of a given product.
                                                              24
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                                                                            Percentage                Increased
          Generic Drug                     Period of Increase                Increase                 Revenue
           Prazosin HCL                       11/12-11/15                      243%                   $43,272,877
          Ranitidine HCL                       6/13-1/17                       611%                   $41,038,333
         Tolmetin Sodium                       7/13-6/17                       265%                    $2,652,049

              73.      In total, comparing the year prior to the price increase to the year after the increase,

     Teva’s revenues for these drugs increased by a total of $688.1 million.

                       2.       Teva Increased Prices in Parallel with Other Manufacturers for a
                                Number of Drugs

              74.      Beginning in 2013 and extending through early 2016, Teva, acting in response to

     or in parallel with other manufacturers, increased prices on at least 24 generic drugs. The drugs

     and the dates and amounts of increases are set forth below:

                                                                                                            Average
                                       Period of               Percentage             Increased            Increase of
        Generic Drug                   Increase                Increase10              Revenue            Competitors11
          Baclofen                      3/14-2/15                  306%              $143,490,678             716%
        Bumetanide                      3/14-7/16                  652%               $86,977,165             258%
     Cabidopa-Levodopa                 6/16-12/16                   51%                    $94,699             79%
       Carpamazepine                   8/14-12/16                  909%               $81,660,368             792%
         Cephalexin                     3/14-7/14                  171%               $52,800,891             320%
          Danazol                       1/15-3/16                  169%                 $3,588,552             76%
       Dipyridamole                    6/15-12/17                  413%                 $1,486,507            245%
     Divalproex Sodium                  3/13-6/18                  444%                 $8,765,463            166%
      Doxazosin Mesy                   7/13-10/15                  666%               $45,742,141             908%
          Enalapril                    6/13-12/16                 1728%               $55,084,975            1222%
         Estazolam                      3/14-6/18                  132%               $20,790,429             277%
          Estradiol                     7/12-1/16                  198%                 61,704,439            273%
          Etotolac                     3/13-12/15                  501%               $49,403,608             333%
        Fluconazole                     5/13-8/13                  487%               $98,589,022             643%

10
  This represents the percentage increase for the most commonly prescribe dosage level for the period in the prior column. All
dosages and relevant periods are set forth in Appendix A hereto.
11
  Competitor price increases are included here if the data showed a price increase generally within a month or two of Teva’s
price increase for the same drug and formulation. The data in this chart represent the average percentage increase for all
competitors that increased the price on at least one dosage of the drug. All competitors, dosages and relevant periods are set
forth in Appendix A hereto.

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         Fluocinonide                  5/14-12/14                  182%             $110,899,192              358%
          Glimepiride                   1/15-8/15                  199%              $19,091,825              214%
         Ketoconazole                   3/14-9/16                  590%              $54,025,729              945%
        Meperdine HCL                   7/14-5/16                   439%              $9,463,723              389%
             Nadolol                   6/13-10/16                  1143%             $70,875,535              131%
        Oxybutynin CL                   5/13-1/16                  869%              $97,355,732              535%
     Penicillin V Potassium            10/16-3/17                  440%              $27,574,780              412%
        Pravastatin Sod                7/13-11/13                  437%             $373,633,425              394%
       Propranolol HCL                  5/13-5/14                  298%             $256,345,498              900%
        Trazodone HCL                   6/15-2/16                  112%             $100,168,909              130%

              75.      In total, comparing the year prior to the price increase to the year after the

      increase, Teva’s revenues for these drugs increased by a total of $1.83 billion.

                       3.       Teva Actively Colluded with Other Generic Drug Manufacturers to
                                Fix Prices

              76.      With respect to three drugs as to which Teva made significant price increases—

      Nystatin, Theophylline ER, and Glipizide-Metformin—there is direct evidence that the price

      increases were the result of collusion with other manufacturers. Teva increased prices for and

      revenues from these drugs as follows:

                                                                           Percentage               Increased
          Generic Drug                    Period of Increase               Increase12                Revenue
         Glipizide Metform                     2/13-2/16                      142%                  $14,683,227
              Nystatin                        3/14-11/15                       52%                   $4,334,575
           Theophylline                        3/14-7/14                      172%                  $25,624,945


                                a)       Direct Evidence of Price-Fixing: Nystatin and Theophylline ER

              77.      Nystatin is a medication used to fight fungal infections. The generic Nystatin sold

      by Teva is AB-rated to the brand name drug Mycostatin®. During the Relevant Period, Teva’s two

      main competitors for Nystatin were Heritage Pharmaceuticals Inc. (“Heritage”) and Sun


12
  This represents the percentage increase for the most commonly prescribe dosage level for the period in the prior column.
All dosages and relevant periods are set forth in Appendix A hereto.

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        Pharmaceuticals (through its division Mutual Pharmaceuticals (“Mutual”)).

                 78.      Theophylline ER is a medication used to treat asthma and airway narrowing

        associated with long-term asthma or other lung problems, such as chronic bronchitis and

        emphysema. The generic Theophylline ER sold by Teva is AB-rated to the brand name drug

        Theodur®. Theophylline ER is an extended release medication, which means that it is released

        into the body throughout the day. During the Relevant Period, Teva’s primary competitor for

        Theophylline ER was Heritage.

                 79.      As evidenced by facts and documents detailed in the CT AG’s Amended Complaint

        against Teva and others dated June 18, 2018, Teva, Heritage and Mutual exchanged numerous

        e-mails and text messages regarding the prices of generic Nystatin and Theophylline ER during

        the Relevant Period. Many of these communications were, on information and belief, between

        Nisha Patel (“Patel”), Teva’s former Director of Strategic Customer Marketing from April 2013

        to August 2014 and its Director of National Accounts from September 2014 to December 2016,

        and Jason Malek (“Malek”), the former President of Heritage who pled guilty to Sherman Act

        antitrust violations for price-fixing in January 2017.13 For example,

                 a) In July 2013, Patel had a series of phone calls with Malek. The three calls spanned
                       43 minutes, including an initial call on July 7 that lasted for 21 minutes.

                 b) On July 30, 2013 Patel and Malek spoke twice, with the second of those two calls
                       lasting more than twelve minutes. In between these two calls, another Heritage
                       representative spoke with a Mutual representative for nearly eleven minutes.

                 c) After these calls, Nystatin was identified on an internal Teva document listing
                       “potential” price increases, notwithstanding that Teva management had declined to
                       raise prices a month earlier. Patel then left for maternity leave in August 2013 until


13
     Based on publicly available social media sites, Patel’s tenure at Teva aligns with the tenure of Malek’s contact at Teva.

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   the end of 2013.

d) On February 5, 2014, Patel and Malek spoke for more than one hour. Two days
   later, on February 7, Nystatin was again identified on an internal Teva document
   listing drugs for potential price increases. Patel and Malek had several additional
   calls in February and March 2014.

e) On April 4, 2014, Teva increased the weighted average cost (“WAC”) price for
   Nystatin and Theophylline ER.

f) On April 15, 2014, Patel and Malek spoke for 17 minutes and discussed price
   increases for Nystatin, Theophylline, and several other generic drugs.

g) On June 23, 2014, Heritage employees internally discussed strategies to implement
   its own price increases of Nystatin, which it had slated for a 95% increase, and
   Theophylline ER, which it has slated for a 150% increase. In her notes about the
   call, a Heritage representative indicated that Heritage had to increase its WAC
   pricing for Nystatin, because Teva had. On June 25, 2014, the Heritage
   representative exchanged text messages with her contact at Sun/Mutual to let her
   know the details of Heritage’s anticipated price increase for Nystatin.

h) On June 25, 2014, Malek also spoke with Patel for nearly fourteen minutes, during
   which Malek reported that Heritage would increase its prices for Theophylline
   shortly.

i) On June 30, 2014, Patel emailed her colleagues, acknowledging the agreement with
   Heritage.

j) By July 9, 2014, Heritage had increased Nystatin prices for at least fourteen of its
   customers nationwide, and by at least August of 2014, Sun began increasing its
   price for Nystatin as well. In addition to leading the price increases for Nystatin,
   Teva also refused to bid or challenge Heritage’s price increases when requested by
   Heritage customers. Indeed, on July 8, 2014, a large retail customer emailed a Teva
   representative requesting a quote for Nystatin, but Teva refused to bid or challenge
   the Heritage price increase for this customer.

k) Also by July 9, 2014, Heritage had increased prices for Theophylline ER for at least
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             twenty different customers nationwide, much as Teva had done three months
             earlier.

       80.       The agreements between Teva and these other drug companies to increase prices

for Theophylline and Nystatin were part of a scheme to manipulate prices for these drugs.

                        b)     Direct Evidence of Price-Fixing: Glipizide-Metformin

       81.       Glipizide-Metformin is a medicine indicated for the treatment of high blood sugar

levels caused by Type-2 diabetes. The generic Glipizide-Metformin manufactured by Teva is AB-

rated to the brand name drug Metaglip®. Prior to and during the Relevant Period, Teva’s only two

competitors for Glipizide-Metformin were Heritage and Mylan. In 2016, Zydus entered the market

with less than 2% market share.

       82.       Beginning in April 2014, representatives from Teva, Heritage, Zydus, Mylan,

Aurobindo, and/or Citron participated in numerous phone calls, and exchanged numerous e- mails

and text messages regarding the prices of generic Glipizide-Metformin.

       83.       On April 15, 2014, Heritage’s Malek spoke with Patel for more than seventeen

minutes, during which they discussed Heritage’s intention to raise the price of Glipizide-

Metformin and other drugs, and Teva agreed that if Heritage raised the price of these drugs, Teva

would follow with its own price increase or, at least, would not challenge Heritage’s price increases

by seeking to underbid Heritage and take its accounts. Malek and Patel spoke several more times

over the next several months, during which Malek and his contact confirmed the agreement to raise

Glipizide-Metformin, prices, and Malek updated Patel on the progress of Heritage’s price

increases.

       84.       By May 9, 2014, a Teva representative had spoken with a Mylan representative

multiple times regarding Glipizide-Metformin, including one call that lasted more than seven

minutes, and the two continued to stay in close contact throughout the rest of 2014.
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                       c)      Other Indicia of Price Collusion

       85.     In addition to the direct evidence of price collusion between Teva and its rival drug

maker in the form of inter-company communications, there are other indicia of collusion. For

example, there was no reasonable justification for the price hikes discussed above. While a supply

shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

obligation to report shortages to the FDA—no such shortages were reported during the Relevant

Period. In addition, there was no significant increase in the demand for these drugs or in the drugs’

production costs that would explain the enormous price increase. In addition, price increases of

this magnitude would have been contrary to Teva’s and each of the co-conspirators’ economic

interest absent the price-fixing scheme. Without the certainty that all of the co-conspirators would

raise and maintain the prices for the relevant drugs, each co-conspirator risked getting undercut by

the others, leading to a loss of market share and a loss of revenue. This risk was alleviated by the

co-conspirators’ agreement to raise and maintain their prices for the relevant drugs.

       86.     In addition, Teva and the Individual Defendants had a palpable motive to fix prices

with Teva’s competitors which derives from the nature of the U.S. generic drug market itself. As

discussed above (¶¶ 41-44), because federal law requires each generic pharmaceutical to be readily

substitutable for another generic of the same brand drug, competition will cause prices to fall until

they near generic drug makers’ marginal production costs. This stabilization of prices in turn

caused Teva’s profits and revenues to level off, thus giving Teva and its co- conspirators a common

motive to conspire to raise prices.

       87.     With the backdrop of this common motive in mind, the markets for Nystatin,

Theophylline ER, and Glipizide-Metformin were all susceptible to anti-competitive conduct for

the following economic reasons:

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a) The market for each of the three drugs referenced above was highly concentrated
   and controlled by a handful of companies. A more concentrated market is more
   susceptible to anti-competitive behavior, due in part to the relative ease with which
   co-conspirators can monitor each other’s pricing behavior to ensure adherence to
   the price-fixing agreement. Moreover, in a highly concentrated market, there is a
   lower probability that each company has different production costs, which
   facilitates the maintenance of a price-fixing scheme.

b) Barriers to entry into a market can delay, diminish or even prevent the attraction
   and arrival of new market participants, which is the usual mechanism for checking
   the market power—i.e., the ability to set prices above market costs—of existing
   participants. Entry barriers include things such as: trade secrets, patents, licenses,
   capital outlays required to start a new business, pricing elasticity, and difficulties
   buyers may have in changing suppliers. If there is no significant threat that new
   firms will enter a market, a single firm with a dominant market share— or a
   combination of firms with a significant percentage of the market—is able to engage
   in anticompetitive conduct, such as restricting output and raising prices to the
   detriment of consumers. Barriers to entry in the markets for generic drugs include,
   among other things, high manufacturing costs and regulatory and intellectual
   property requirements. For example, the requirement that companies file an ANDA
   and receive FDA approval can delay entry into the market by an average of thirty-
   six months.

c) The presence of alternative products that can easily be substituted for a given
   product serves to undermine anti-competitive behavior. Conversely, the absence of
   available substitutes increases the susceptibility of a market to anti- competitive
   behavior because consumers have no alternative but to purchase the product,
   notwithstanding any price increases. In the context of prescription drugs, a
   pharmacist presented with a prescription for a given drug can only substitute
   another drug if that drug has an “AB” rating. Only generic and brand-name versions
   of a drug are AB-rated to one another. Therefore, a pharmacist can only fill a
   prescription for a given drug with the brand-name version or one of the AB- rated
   generic versions and cannot substitute another drug.
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       d) A standardized, commodity-like product with a high degree of interchangeability
             between the goods of the participants in an anti-competitive conspiracy also
             increases the susceptibility of a given market to anti-competitive conduct. By their
             very nature, all generic versions of a given drug are interchangeable, as every
             generic version of a drug must be bioequivalent to the original, brand-name drug.

       88.      In addition to the economic characteristics of these markets which indicate a

susceptibility to anti-competitive conduct, representatives from Teva and its co-conspirators had

substantial opportunities to meet up, socialize and engage in collusive conduct. Teva and its co-

conspirators routinely attended conferences, meetings, and trade shows sponsored by various

pharmaceutical trade associations, interacted with each other and discussed their respective

businesses and customers, and to discuss, devise, and implement the price-fixing schemes set forth

herein. Social events and other recreational activities—including golf outings, lunches, cocktail

parties, and dinners—were also organized in conjunction with the trade association events and

provided further opportunities for these representatives to meet outside of the traditional business

setting and engage in the collusive activities alleged herein. Teva even reserved a “strategic

exchange” bungalow at the 2013 and 2014 annual meetings of the National Association of Chain

Drug Stores (“NACDS”) which NACDS marketed as an “opportunit[y] to meet and discuss

strategic issues with key trading partners.” Such bungalows provided Teva and its competitors

with a secluded place to privately conduct business. A list of these industry events and the attendees

from Teva and its co-conspirators is attached as Appendix B hereto.

                4.      As a Result of the Price Increases, Teva Increased Its Revenues and
                        Profits by Billions of Dollars

       89.      As a result of the price increases described above, between 2014 and 2016, the total

additional revenues obtained from these price increases was $2.5 billion. Further, because price

increases impose minimal additional costs on Teva, these revenue increases were, effectively,

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  increases in Teva’s profitability resulting from the price increase strategy.

          90.      On an annual basis, the increased revenues began to impact Teva’s bottom line

  beginning in 2013, peaked in 2015, and by 2017, had substantially declined as increased price

  competition negatively impacted Teva’s ability to successfully implement its price increase

  strategy. The additional revenues earned by Teva from its price increase strategy for 2013 through

  November 2014 is set forth in the chart below:

  Total Additional Revenues Earned From Price Increases


   2013            2014           2015           2016           2017          2018           Total
$222,115,831    $656,024,837   $747,045,795   $541,772,741   $273,812,033   $74,887,541   $2,515,686,778


          G.       Recognizing that Its Price Increase Scheme Was Unsustainable for More
                   than a Short Period, Teva Misleads Investors Regarding the Basis for Its
                   Improved Financial Performance

          91.      In connection with its price increase strategy, Teva sought at all costs to avoid any

  suggestion that price increases were the cause of its seemingly miraculous turnaround.

  Accordingly, at the beginning of the Relevant Period of February 6, 2014, Teva attributed its

  increase in revenues for the end of 2014 to higher sales volumes and launches of new generic

  drugs. Nothing was said about the multiple drug price increases from the summer of 2013.

          92.      In May 2014, touting its first quarter results, Teva again relied upon “new product

  launches” and a changed composition of revenues to explain its increased profitability.

          93.      On October 30, 2014, during the third quarter earnings call, Teva was specifically

  asked about the impact of price increases, but Defendant Olafsson deflected, suggesting that there

  were no significant increases since “the base business itself is slowly eroding . . . .”

          94.      And during a conference call in December 2014, Defendant Olafsson was asked a

  question that was based upon an assumption that wholesalers of generic drugs were experiencing
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“extraordinary price increases.” Defendant Olafsson rejected the premise of the question, stating:

“let me correct. I have to disagree that they have experienced tremendous price increase[s].”

       95.      Throughout 2015 and early 2016, Vigodman, Desheh and Olafsson flatly denied

that Teva’s improved performance was the result of price increases:

       • October 29, 2015 (Vigodman): “[A]ll the improvements you see in margins is not driven
         by price. It is driven by quantities, and by mix, and by efficiency measures, not by price,
         2014, 2015. And that’s a very important message.”

            •         November 19, 2015 (Desheh): “There is a lot of noise around pricing issues.
            Some of it is coming from politicians [who are] driving agenda[s] . . . . Our exposure to
            all these things is very minimal . . . . I believe there are many examples for competitive
            environment, real competition, like we see in the generic market in the United States-
            .. . . Teva was not associated with any of that.”

       • February 11, 2016 (Olafsson): “So how did we do this [increase our profit margin by
         $1 billion over 24 months]? Not by pricing but by portfolio mix, new products, and
         efficiency measures.”

All of the above statements were false because by July 2015, Teva had raised prices on more

than 61 drugs, including many by more than 250%.

       H.       Driven by Price Increases, Teva’s ADS Price Soars

       96.      In 2014, despite the storm clouds raised by press stories, government investigations

and the increasing pace of the FDA’s ANDA approval process, Teva’s price increases fueled a

turn-around success story for Teva’s U.S. generics business, which reported approximately a $250

million (or 6%) increase in revenues over the prior year. Teva’s ADS price soared as a result,

jumping more than 50% from around $37 in late October 2013, to approximately $56 by the end

of 2014. These astonishing year-over-year increases in U.S. generics revenues were accomplished

in the face of 23 million fewer prescriptions than in 2013.

       97.      The price increases also led to a banner year in 2015 for Teva’s U.S. generics

division, which spearheaded the Company’s growth story, fueling an unprecedented increase in

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the price of Teva ADS. Teva reported the 2015 gross profit from its overall generic medicines

segment as $4.5 billion, an increase of $246 million, or 6%, compared to $4.3 billion in 2014, and

a profit (with expenses removed) of $2.7 billion in 2015, compared to $2.2 billion in 2014, or a

difference of almost 24%. Most of these glowing results stemmed from Teva’s U.S. generics

division, which reported revenues of $4.8 billion, an increase of $375 million, or 8%, over 2014,

which itself had been a flagship year for U.S. generics. Teva’s inflated ADS price rocketed from

approximately $55 at the beginning of the year to more than $70 by late July 2015.

       I.       Defendants Lay Plans for a Major Acquisition—Inflating the ADS Price to
                Use as “Currency”

       98.      Undeterred by the public outcry regarding the price increases and the government

investigations into generic price-fixing, as well as Teva’s knowledge that price increases could not

be maintained over the long-term as generic competition increased, Defendants continued to

pursue plans—contemplated from the time Vigodman was hired as CEO in January 2014—to

engage in large acquisitions to position the company for the end of its Copoxone patent rights.

       99.      On April 21, 2015, with the ADS shares trading at an artificially inflated price of

approximately $66 per share, Defendants announced an offer to acquire all of the outstanding

shares of Mylan in a transaction valued at $82.00 per Mylan share, with the consideration to be

comprised of approximately 50% cash and 50% stock. The acquisition fell through; yet Defendants

continued to pursue other acquisition options, all the while continuing to misrepresent and omit

material facts regarding the Teva’s ongoing price-fixing conspiracy and source of its financial

success.

       J.       The Company Announces a $40 Billion Acquisition of Actavis Fueled By Its
                Inflated Share Price and a Proposed Bond Offering

       100.     Fueled by Defendants’ misleading statements, Teva’s ADS price reached a then all-


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time high of $72 on July 27, 2015. On that day, Teva announced it had entered into a definitive

agreement with Allergan plc to acquire its worldwide generic pharmaceuticals business, Actavis,

for $40.5 billion in cash and equity.

       101.    As would later be revealed during a call with investors on October 29, 2015,

Defendants planned to raise approximately $6.75 billion from a secondary public offering of

ADS and an initial public offering of Preferred Shares, and approximately $27 billion from a debt

issuance and term loans, to finance the acquisition.

       102.    On the same day, Teva issued its third quarter 2015 results, which were ahead of

the street’s expectations, and again raised its full year guidance. As summarized by the analysts at

UBS in their October 29, 2015 report, “Our takeaway: Another good quarter.”

               1.      Teva Issues $3.375 Billion in ADS and $3.375 Billion in Preferred
                       Shares While the ADS Trade at an Inflated Price

       103.    On December 8, 2015, Teva closed its Secondary Offering of ADS and its Initial

Offering of Preferred Shares. Teva issued 54 million ADS at $62.50 per ADS in the secondary

offering, raising approximately $3.375 billion from investors. These shares were offered publicly

pursuant to a registration statement and prospectus. Teva also issued 3,375,000 Preferred Shares

at $1,000.00 per share, raising another $3.375 billion from investors. Each Preferred Share was to

be converted into a number of ADS equal to the conversion rate set forth in the Preferred

Prospectus, between 13.3333 and 16.0000.

       104.    On January 6, 2016, Teva sold an additional 5.4 million ADS and an additional

337,500 Preferred Shares pursuant to the exercise of the ADS/Preferred Underwriters’ over-

allotment option. In total, Teva generated net proceeds from the ADS Offering and the Preferred

Offering of approximately $7.24 billion.



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                 2.      Defendants Rush the Notes Offering and Conceal the Fact that Teva
                         Had Been Served Subpoenas by the DOJ and the Connecticut AG

          105.   On July 13, 2016, Vigodman announced that Teva would accelerate the timing of

the bond offering related to the Actavis deal, despite the fact that it “lacked full visibility into the

Actavis Generics number.” According to Vigodman:

          [W]e are closely monitoring the corporate bond markets and given the various
          attractive terms currently prevailing there, we are considering accelerating our
          planned debt offering. With this in mind, and despite the fact that we will not yet
          have full visibility into the Actavis Generics number, and in particular, certain
          pipeline information, we have decided to provide you today with our best estimate
          of the financial outlook for Teva in 2016 to 2019, following the close of the deal.

          106.   This was surprising because just a few weeks earlier, on a May 9, 2016 conference

call, Desheh had told investors that the offering would not happen until after the Actavis deal

closed.

          107.   As of July 31, 2016, Teva had raised $20.3 billion from the Senior Notes Offering

to complete the Actavis acquisition. The Actavis deal closed on August 2, 2016. In the related

August 2, 2016 press release, Vigodman falsely declared that the “acquisition of Actavis Generics

comes at a time when Teva is stronger than ever—in both our generics and specialty businesses.”

          108.   In sum, of the $33.4 billion owed Allergan beyond the transfer of Teva stock (priced

as of July 2015), $5 billion was funded by Teva borrowing from its loan facility, and $8.1 billion

from cash on hand that was previously raised in the ADS and Preferred Offerings, including from

its December 2015 equity offerings and borrowings under its syndicated revolving credit. The

remaining $20.3 billion came from the proceeds of the Senior Notes Offering. If Defendants had

been unable to secure financing for that debt, according to the terms of the deal’s structure, Teva’s

agreement with Allergan would have required Teva to pay Allergan $2.5 billion.




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       K.      The Fraud Unravels, Causing the Prices of Teva Securities to Fall

               1.      Days After the Close of the Actavis Transaction, Teva Belatedly
                       Announces It Is the Subject of Government Antitrust Investigations

       111.    On August 4, 2016, three days after the Notes Offering, and two days after the

Actavis transaction closed, Teva reported second quarter 2016 financial results that reflected a

$434 million decline in revenues in its U.S. generics segment compared to the second quarter of
2015. The end of its ability to maintain growth through price increases was due to the massive

increase in competition as the result of the FDA’s vastly accelerated pace of ANDA approvals.

Defendants also revealed for the first time to investors that Teva was now the subject of DOJ and

State AG investigations into generic drug price collusion. In fact, the DOJ had served Teva with a

subpoena on June 21, 2016, and the CT AG on July 12, 2016—just before Teva announced the

$20 billion Notes Offering on July 13, 2016, although Defendants did not disclose the subpoenas

at the time. Upon this news, the price of Teva’s securities fell.

       112.    Despite the revelation of government inquiries and the continued unraveling of

Teva’s ability to maintain elevated drug prices, Defendants doubled down, expressly denying the

impact of price hikes and reaffirming their inflated outlook for 2016.

       113.    Defendants’ denials were deeply undermined when, on September 12, 2016, the

GAO Report was issued. This report, based upon a review of Medicare data, concluded that generic

drug manufacturers including Teva had made hundreds of unexplained “extraordinary price

increases”—defined as a particular drug’s price increasing over 100% within a 12-month period—

including numerous price increases of more than 1,000% in some cases. Teva owned the rights to

at least 40% of the drugs identified in the GAO Report as having exhibited an extraordinary price

increase between 2013 and 2015.

       114.    Further, after Bloomberg and other media outlets reported between November 3

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and November 10, 2016, that U.S. prosecutors could hand down criminal charges related to its

price-fixing investigation by year-end, resulting in sizeable liabilities for Teva and other generic

drug manufacturers, Defendants denied any wrongdoing, stating, “Teva is not aware of any facts

that would give rise to an exposure to the company with respect to these subpoenas.”

       115.    This denial was false. Only a month later, the CT AG would file its complaint

alleging direct evidence that Teva had engaged in a conspiracy to fix prices on multiple drugs.

               2.      The Market Is Surprised When Teva Announces Dismal Results for
                       the Third Quarter of 2016 and Olafsson Is Fired

       116.    On November 15, 2016, Teva reported third quarter 2016 revenues below

consensus expectations, which Defendant Olafsson stated were a result of pricing pressures in

Teva’s U.S. generics business. This news was a shock and a disappointment, given Defendants’

bullish comments on Teva’s generics business and statements concerning price trends. On this

news, the price of Teva’s securities dropped.

       117.    Less than three weeks later, on December 5, 2016, amid Teva’s deteriorating

financial condition, the Company unexpectedly announced the “retirement” of Olafsson, the 48-

year-old head of generics. His replacement, Dipankar Bhattacharjee, took over effective

immediately. In reality, Olafsson did not “retire.” He was fired. The price of Teva’s securities

dropped in response.

               3.      Teva’s Profits from Its Price Increase Plan Further Dry Up, and
                       Vigodman and Desheh Are Forced Out of the Company

       118.    On January 6, 2017, Teva reduced its 2017 guidance, far below market

expectations, which Vigodman attributed “to not being able to realize new launches in . . . Teva[’s]

legacy business,” rather than pricing pressure as generic competition increased. With this report of

reduced revenues, the price of Teva securities declined precipitously.

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       119.    Shortly thereafter, on February 6, 2017, Teva announced the termination of

Vigodman, effective immediately and without a permanent replacement. The press release further

noted that Vigodman’s service on Teva’s Board had also ended. As with Olafsson, investors

questioned the timing and abruptness of Vigodman’s departure, especially given that no

replacement was named, or, apparently, was under consideration at the time. For example, J.P

Morgan, in a report dated February 6, 2017, titled “CEO Transition Adds Further Uncertainty to

Story,” wrote that “we view today’s update as a disappointment, with arguably the two most

important executives at Teva stepping down (Erez and Siggi Olafsson, CEO of generics) within

the last several months at a time of significant fundamental challenges.”

       120.    On April 25, 2017, numerous media reports surfaced that Desheh would be pushed

out as CFO at Teva. These reports were confirmed the next day when, in an April 26, 2017 6-K,

Teva announced that Desheh would be stepping down as CFO in “the coming months” so that he

could move on to “the next phase of [his] career.”

               4.     After Vigodman, Desheh and Olafsson Are Terminated, Teva Lowers
                      Guidance, Cuts Dividends, and Takes a $6.1 Billion Charge Against
                      Earnings

       121.    On June 8, 2017, Teva announced four new directors to its Board in an attempt to

regain lost credibility. By June 21, 2017, Desheh had also left Teva. Two months later, with

Defendants Desheh, Vigodman and Olafsson finally gone and new board members in place, Teva

revised guidance down again, reduced its dividend, and took a $6.1 billion charge. Management

admitted that these actions were triggered largely by the same pricing and competitive market

pressures that the Company—and especially former executives Vigodman, Olafsson and

Desheh—had previously denied would have any impact on Teva.

       122.    On August 3, 2017, Teva announced lower-than-expected second quarter 2017


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results, including a net EPS loss for the quarter of $5.94, reduced guidance, and a $6.1 billion

goodwill impairment charge. As Dr. Yitzhak Peterburg, Vigodman’s temporary replacement,

revealed during the Company’s earnings call that day, the EPS loss was primarily the result of the

$6.1 billion impairment charge, which was taken to reduce goodwill associated with Teva’s

U.S. generics business. Fitch downgraded Teva’s Issuer Default Rating to BBB- as a result, with

a Negative Outlook, reasoning that, “Pricing pressure in the U.S. will weigh on operations in the

near term, requiring the company to reduce debt both through FCF generation and asset

divestitures.” As reported by The Street that day, “Teva Shares Are Getting Obliterated Again

After Vicious Investment Bank Downgrades.”

       123.     Teva’s August 3, 2017 disclosure was the direct result of Defendants’ fraud.

Defendants had concealed from investors that Teva had generated revenues from price increases

that simply could not be maintained over the long-term. As those sources of revenue began to dry

up, and competition seeped back into the generic drugs market, revenue substantially declined,

necessitating the massive write-down.

V.     DEFENDANTS’ MATERIAL MISREPRESENTATIONS AND OMISSIONS

       124.     During the Relevant Period, Defendants made a series of materially false or

misleading statements and omissions of material fact. These statements can be summarized as

follows:

       First, Defendants made materially false and misleading statements and omissions
       regarding the reasons for the Company’s success in the generic drug market
       (including improved revenues, growth, profitability, costs, and margins).
       Specifically, Defendants falsely attribute the year-over-year (“YOY”) changes in
       Teva’s generic segment profit and U.S. generic revenues to sources other than
       Teva’s price increases. Once Defendants spoke on these subjects, they had a duty
       to fully and accurately disclose the true source of Teva’s revenues and profits.

       Second, Defendants flatly and falsely denied that Teva had engaged in price
       increases or received material benefit from price increases. Instead, Defendants

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       falsely claimed that Teva only raised prices on a select few generic drugs due to
       market shortages.

       Third, Defendants falsely stated that the Company was immune to pricing pressures
       when, in fact, it was unable to sustain its undisclosed strategy of taking substantial
       price increases.

       Fourth, Defendants falsely represented the level of completion that the Company
       faced in the generic drug market. In truth, Teva’s undisclosed and inherently
       unsustainable strategy to take massive short term price increases depended in large
       part on a lack of competition.

       Fifth, Defendants failed to disclose their receipt of subpoenas from the U.S.
       Department of Justice and the Connecticut Attorney General in connection with
       those agencies’ investigations into price collusion in the generic pharmaceutical
       markets and the impact of such investigations on the Company.

       125.    Defendants also violated Item 303 of SEC Regulation S-K and Item 5 of Form 20-

F by failing to disclose the true reasons and factors contributing to the increases and decreases in

the Company’s revenues, i.e., the Company’s undisclosed strategy and implementation of massive

price increases for generic drugs. These increases were unsustainable given, among other things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market.

       A.      Defendants’ Materially False and Misleading Statements and Omissions
               During the Relevant Period

               1.      February 6, 2014

       126.    On February 6, 2014, in a press release filed with the SEC on Form 6-K, Teva

reported the Company’s 4Q13 and FY 2013 financial results. In the same press release, Teva

disclosed 4Q13 U.S. Generic Medicine “revenues of $1.2 billion, an increase of 14% compared to

the fourth quarter of 2012.” The press release reported that:

       The increase resulted mainly from the exclusive launches of niacin ER, the generic
       version of Niaspan®, and temozolomide, the generic version of Temodar®, in the
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       third quarter of 2013, and launches of duloxetine, the generic version of Cymbalta®,
       and tobramycin, the generic version of Tobi®, in the fourth quarter of 2013, as well
       as higher sales of budesonide inhalation, the generic version of Pulmicort®.

       127.     The statements set forth in ¶ 126 above were materially false and misleading and/or

omitted material facts because they had the effect of concealing, and/or failed to disclose, that, in

truth, the Company’s reported financial results and success in the generic drug market, including

improved revenues, were driven primarily by its undisclosed strategy to take massive price

increases, either on its own or in tandem with other manufacturers whom it purportedly competed

with. In fact, during FY13 Teva generated more than $222 million through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

               2.      February 10, 2014

       128.    On February 10, 2014, Teva filed its 2013 Annual Report with the SEC on Form

20-F, which was signed by Defendant Desheh. The 2013 20-F disclosed a YOY decline in generic

profit of $400 million, or 20%, “primarily” attributed to “lower revenues and lower gross profit,

which were partially offset by a reduction in selling and marketing expenses,” and “by sales of

higher profitability products in the United States.”

       129.    The statements set forth in ¶ 128 above were materially false and misleading and/or

omitted material facts because they had the effect of concealing, and/or failed to disclose, that, in

truth, the Company’s reported financial results in the generic drug market were driven primarily

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by its undisclosed strategy to take massive price increases, either on its own or in tandem with

other manufacturers whom it purportedly competed with. In fact, during FY13 Teva generated

more than $222 million through price increases alone. Without this inflated revenue, Teva would

have experienced a YOY decline in generic profit of $622 million, or 55% more than what it

reported. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

       130.    The Company’s February 10, 2014 Form 20-F also described the “intense

competition,” Teva faced in the U.S. generic market and its “competitive pricing strategy,” and

again touted its “competitive advantages”:

       Competitive Landscape. In the United States, we are subject to intense competition
       in the generic drug market from other domestic and foreign generic drug
       manufacturers, brand-name pharmaceutical companies through lifecycle
       management initiatives, authorized generics, existing brand equivalents and
       manufacturers of therapeutically similar drugs. Price competition from additional
       generic versions of the same product typically results in margin pressures. We
       believe that our primary competitive advantages are our ability to continually
       introduce new and complex generic equivalents for brand-name drug products on a
       timely basis, our quality and cost-effective production, our customer service and
       the breadth of our product line. We believe we have a focused and competitive
       pricing strategy.

       131.    In the same Form 20-F, Teva discussed the primary factors driving growth in the

Company’s Generic Medicines segment, and reported “intense competition in the generic market”:

       Sales of generic pharmaceuticals have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers, physicians
       and pharmacists globally. . . . These conditions also result in intense competition in
       the generic market, with generic companies competing for advantage based on

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       pricing, time to market, reputation, customer service and breadth of product line.

       132.      The statements set forth in ¶¶ 130-131 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. Nor was Teva working to combat the purported effects of competition,

which resulted in “margin pressures,” through a “competitive pricing strategy.” In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.

See ¶¶ 71-95.

                 3.     May 1, 2014

       133.      On May 1, 2014, Teva filed a press release on a Form 6-K with the SEC, signed by

Defendant Desheh, reporting the Company’s 1Q14 financial results. The Q1 2014 6-K disclosed a

YOY increase in generic profit of $117 million, or 31%, which was “primarily” due to: “[H]igher

revenues, higher gross profit and a reduction in selling and marketing expenses,” with higher gross

profit attributed to “the change in the composition of revenues in the United States and Europe,

mainly products launched during the first quarter of 2014 and in the United States in the second

half of 2013.”

       134.      That same day, Teva held its 1Q14 earnings conference call, in which Defendants

Vigodman and Desheh participated. During that call, Desheh stated:

       In generics, we experienced significant growth in the Unites States market, with
       17% year-over-year growth, to a total of $1 billion with a number of new product
       launches.

                                               ***

       The profitability of our major business segment was driven by global generic, with
       31% improvement resulting from the strong performance in the US market and
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       higher profitability in Europe. . . . 31% improvement in the profit of the global
       generic business, driven by the performance of the US market, improved the total
       generic share to 30% of total profit.

       135.    The statements set forth in ¶¶ 133-34 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by May

2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

               4.      July 31, 2014

       136.    On July 31, 2014, Teva filed its 2Q14 Form 6-K with the SEC, which was signed

by Desheh. The 2Q14 Form 6-K reported that YOY increase in generic segment profit of $156

million, or 41%, “primarily” attributed to:

       [A] significant reduction in selling and marketing expenses, higher revenues and
       higher gross profit, [which was attributed to] . . . . higher revenues in the United
       States, specifically of products launched during the first half of 2014 and in the
       second half of 2013, and higher revenues in Canada as well as … the change in the
       composition of revenues in Europe.

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       137.    On July 31, 2014, Teva held its 2Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Desheh stated:

       [T]he improvement of operating profit and profitability was driven by strong results
       of our global generic business, with profit improvement of 41% compared to last
       year. Launch of generic Xeloda in March and generic Lovaza this quarter in the US
       market . . . led to the better results.

       138.    The statements set forth in ¶¶ 136-37 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by July

2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

               5.      October 30, 2014

       139.    On October 30, 2014, in a press release filed with the SEC on Form 6-K and signed

by Desheh, Teva reported its 3Q14 financial results. The Q3 2014 6-K disclosed a YOY increase

in generic profit of $160 million, or 40%, “primarily” from:

       [H]igher gross profit and a significant reduction in selling and marketing expenses,
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       [with higher gross profit attributed to] . . . lower expenses related to production,
       higher revenues from our API business as well as higher gross profit due to the
       change in the composition of revenues.

       140.    On October 30, 2014, Teva held its 3Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Olafsson stated:

       I think overall, we have a good revenue off the new launches this year. [Capasida]
       the generic Lovaza omega 3 [and] Entecavir. Entecavir was a new launch for us in
       the quarter. I think all these three products have been very significant contributors
       to the year.

       (First alteration in original.)

       141.    On the same call, a UBS Securities analyst asked whether price increases in “some

of [Teva’s] base business” impacted Teva’s 3Q14 financial results. Olafsson responded: “there’s

never a price increase on the base business as whole. Like any other business, if there’s a pricing

opportunity that comes in the market, we look for that. But the base business itself has been eroding

overall because of the consolidation of the customers.”

       142.    The statements set forth in ¶¶ 139-41 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by

October 2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new
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competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

               6.      December 11, 2014

       143.    On December 11, 2014, Vigodman, Desheh, and Olafsson participated in the

Company’s 2015 Business Outlook Meeting conference call. During the call, a Morgan Stanley

analyst asked “with respect to Generic inventory in the channel, both for Teva and for other generic

manufacturers, I’m assuming that wholesalers have been seeing extraordinary price increases in

recent years and has been buying inventory ahead of tremendous price increases.” Defendant

Olafsson “disagree[ed]” stating:

       So first let me correct. I have to disagree that they have experienced tremendous
       price increase. I think, overall, the pricing in the US of generics has been flat to a
       slight down. There has been a lot of press about price increases on individual
       molecules and this has been a hot political issue selecting a few products.

       144.    The statements set forth in ¶ 143 above were materially false and misleading and/or

omitted material facts. Defendants’ statements that “overall, the pricing in the U.S. of generics has

been flat to a slight down” had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY 13 and FY14 Teva generated more than $878 million through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of
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competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

               7.      February 5 and February 9, 2015

       145.    On February 5, 2015, Teva filed a press release with the SEC on Form 6-K, signed

by Defendant Desheh, reporting the Company’s 4Q14 and FY2014 financial results. The Q4 2014

Press Release disclosed a YOY increase in generic profit of $47 million, or 9%, attributed

“primarily” to: “[O]ur lower S&M expenses and lower R&D expenses.”

       146.    On February 9, 2015, Teva filed its 2014 Annual Report with the SEC on Form 20-

F, signed by Desheh. The 2014 20-F disclosed a YOY increase in generic profit of $480 million,

or 29%, attributed “mainly” to:

       lower S&M expenses and higher gross profit . . . . [which was] mainly a result of
       higher revenues in the United States, specifically of products launched during 2014
       and in the second half of 2013, and higher revenues in Canada, which led to higher
       gross profits, as well as higher gross profit from API sales to third parties.

       147.    The Company’s 2014 20-F also reported that FY2014 U.S. Generic Medicine

revenues “amounted to $4.4 billion, up 6% compared to $4.2 billion in 2013,” explaining that:

       The increase resulted mainly from the 2014 exclusive launch of capecitabine (the
       generic equivalent of Xeloda®), the launch of omega-3-acid ethyl esters (the
       generic equivalent of Lovaza®) for which we were first to market, and the launch
       of raloxifene (the generic equivalent of Evista®), as well as products that were sold
       in 2014 that were not sold in 2013. These increases were partially offset by lower
       sales of the generic versions of Adderall IR (amphetamine salts IR), Pulmicort
       (budesonide inhalation) and Niaspan® (niacin ER).

       148.    The table below reflects Teva’s improved profits as reported in 2014:

   2014 ($ millions)                   Q1            Q2          Q3            Q4         Full Year

   Reported YOY Change in
                                      $117        $156          $160          $47              $480
   Generics Profit


       149.    The statements set forth in ¶¶ 145-48 above were materially false and misleading
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and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY14 Teva generated more than $656 million through price increases alone, representing a

YOY increase in inflated revenues of more than $434 million, or nearly all of the reported

YOY change in generics profit. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. Having put into play the issue of the source of Teva’s

revenue growth and the subject of competition in the generic drug markets, Defendants had a duty

to disclose Teva’s price increase strategy and the true source of its revenues.

       150.    The Company’s February 9, 2015 Form 20-F also described the “intense

competition” Teva faced in the U.S. generic drug market and its “competitive pricing strategy,”

and again touted its “competitive advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       151.    In the 2014 Form 20-F, Teva also described the “intense competition in the generics

market,” and the primary factors driving growth in its Generic Medicines segment:

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       Sales of generic medicines have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers, physicians
       and pharmacists globally. . . . These conditions also result in intense competition in
       the generic market, with generic companies competing for advantage based on
       pricing, time to market, reputation, customer service and breadth of product line.
       We believe that these factors, together with an aging population, an increase in
       global spending on healthcare, economic pressure on governments to provide less
       expensive healthcare solutions, legislative and regulatory reforms and a shift of
       decision-making power to payors, will lead to continued expansion in the global
       generic market, as well as increased competition in this market.

       152.     In the same Form 20-F, the Company also described the following Risk Factor:
       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of new companies selling such product and the
       timing of their approvals.

       153.     The statements set forth in ¶¶ 150-52 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. Nor was Teva working to combat the purported effects of competition,

which resulted in “margin pressures,” through a “competitive pricing strategy.” In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.

See ¶¶ 71-95.

                8.     April 30, 2015

       154.     On April 30, 2015, Teva filed its 1Q15 Form 6-K with the SEC, also signed by

Defendant Desheh. The Company’s 1Q15 Form 6-K reported a YOY increase in generic profit of

$296 million, or 59%, attributed “primarily” to:

       Higher gross profit and lower selling and marketing expenses as well as lower
       research and development expenses . . . . [with] higher gross profit . . . mainly a
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       result of the launch of esomeprazole in the United States during the quarter and
       improved profitability of our European business.

       155.    On April 30, 2015, Teva held its 1Q15 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, a Bank of America Merrill Lynch

analyst asked “how much more potential exists to increase generic segment margins purely from

organic gains in operational efficiency?” In response, Olafsson stated:

       I think there is room for more, but it takes a little longer time. What plays into the
       operating profit in generics are probably three or four things.
       First of all, we have a significant improvement in our cost of goods. I think the
       operation team in Teva has done an outstanding job in lowering the cost of goods,
       improving the quality of the supply.

       And really, it’s my business that has benefited from that because a big portion of
       our volume comes straight to the generic business. And really, we will continue that
       over time. . . .

       I think the next thing is the portfolio offering. I think the more we have of exclusive
       complex generics on offering, we have a higher margin on these products. It’s
       simple. So when we have more of the launches, it will drive up the margin.

       The third thing is the cost infrastructure. I think we have done a very good job in
       the cost infrastructure. You can see that from our gross margin versus our operating
       profit. . . .

       [O]bviously, the big jumps of 1,000 basis points we have taken over the last 24
       months, you wouldn’t see that skill of improvement in the generics. . . .

       When you look at the top line growth, you see that already in first quarter we have
       improved our top line growth. That mainly comes from our new launches but also
       our emphasis on the branded generic markets.

       156.    The statements set forth in ¶¶ 154-5 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business, including the “three or four things” that play into Teva’s operating profit, had

the effect of concealing, and/or failed to disclose, that, in truth, the Company’s reported financial

results and success in the generic drug market, including improved revenues, were driven primarily

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by its undisclosed strategy to take massive price increases, either on its own or in tandem with

other manufacturers whom it purportedly competed with. In fact, from FY13 through FY14 Teva

generated more than $878 million through price increases alone, and in FY15 generated an

additional $747 million through price increases, much of which had been realized by April 2015.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

               9.      June 10, 2015

       157.    During a June 10, 2015 Goldman Sachs conference, Vigodman spoke of “the

profound change in the generic business” since 2014, stating:

       These are “things [that] are not confined to numbers, but maybe [numbers tell the
       story]: 16.7% operating profit in 2013; 21.9% operating profit 2014,” and
       attributing this success solely to “[t]he execution of the cost reduction program[:]
       $600 million net savings 2014; $500 million 2015,” and a “[f]ull transformation of
       our operational network,” claiming that “[w]e closed or divested 11 plants during
       the last 12 months, we centralized procurement.… So everything that was done
       during 2014 was based on organic moves only.”

       158.     The statements set forth in ¶ 157 above were materially false and misleading and/or

omitted material facts. Vigodman’s statements touting the purported success of their generics

business, including the “cost reduction program” and “full transformation of our operational

network,” had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

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or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY14, Teva generated more than $878 million through price increases alone, and in FY15

generated an additional $747 million through price increases, much of which had been realized by

June 2015. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

               10.     July 27, 2015

       159.    On July 27, 2015, Teva held a call to discuss the Company’s Actavis acquisition.

On the July 27, 2015 call, a BMO Capital analyst asked Olafsson and Vigodman about the

competitive landscape in the generic market. In response, Olafsson stated, “the US generic market

is very competitive. . . . [There’s] a fierce competition on most of the portfolio, if not all of the

portfolio.” Vigodman added, “we promise to do everything in our power to take the Company to

be able to continue the improvement that we have been witnessing here.               We believe in

competition, and we’ll do what is needed in order to win all the markets we operate.”

       160.    The statements set forth in ¶ 159 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce competition” or operating in a

competitive environment. Nor was “the US generic market [] very competitive.” In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.


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See ¶¶71-95.

               11.     July 30, 2015

       161.    On July 30, 2015, Teva filed its 2Q15 Form 6-K, which was signed by Defendant

Desheh. Teva’s 2Q15 6-K reported a YOY increase in generic profit of $193 million, or 36%,

attributed “primarily” to:

       “[H]igher gross profit as well as lower selling and marketing expenses,” while
       claiming that higher gross profit was “mainly a result of higher gross profit in the
       United States, due to the launches of aripiprazole in the second quarter of 2015 and
       of esomeprazole during the first quarter of 2015, and lower production expenses.”
       162.    The statements set forth in ¶ 161 above were materially false and misleading and/or

omitted material facts. Defendants’ statements touting the purported success of their generics

business had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY14 Teva generated more than $878 million through price increases alone, and in FY15

generated an additional $747 million through price increases, much of which had been realized by

July 2015. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

               12.     October 29, 2015

       163.    On October 29, 2015, Teva filed its 3Q15 Form 6-K with the SEC, signed by

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Desheh. In the 3Q15 Form 6-K, Teva reported YOY increase in generic profit of $20 million, or

4%, attributed “primarily” to:

       “[L]ower selling and marketing expenses, partially offset by lower gross profit,”
       which in turn was partially offset “by higher gross profit of our API business.”

       164.    On October 29, 2015, Vigodman, Desheh, and Olafsson participated in the

Company’s 3Q15 earnings conference call. During the call, Vigodman denied that any of Teva’s

margin improvements were attributable to price increases:

       We are very responsible . . . in everything that pertains to prices on the generic
       side and on the specialty side. And I would even put it another way, all the
       improvements you see in our – in margins is not driven by price. It is driven by
       quantities and by mix and by efficiency measures. Not by price, 2014, 2015. And
       that’s a very important message.

       165.    In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst asked for management’s thoughts on “the

potential limit to generic drug price increases.” Olafsson minimized the extent and effect of Teva’s

practice of increasing prices and implied that Teva was not dependent on such profit:

       In terms of the proposed legislation on pricing control on generics, first of all, we
       don’t really know what it’s going to be. But let me give you examples. So Teva has
       the largest portfolio on the U.S. market. We are offering approximately 275
       products. And we have told you that overall on our whole portfolio, we have a
       decline in price. The talk about the inflation in generics when you have a big
       portfolio is really not there. 95% of our portfolio is declining due to the
       consolidation of the customers I talked about. There might be 5% of the portfolio
       that is either flat or increasing in pricing due to some abnormalities in the market.

       166.    The statements set forth in ¶¶ 163-65 above were materially false and misleading

and/or omitted material facts. Defendants’ statements had the effect of concealing, and/or failed

to disclose, that, in truth, the Company’s reported financial results and success in the generic drug

market, including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

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purportedly competed with. In fact, from FY13 through FY14, Teva generated more than $878

million through price increases alone, and in FY15 generated an additional $747 million through

price increases, much of which had been realized by October 2015. This strategy was inherently

unsustainable in light of, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

FDA, which would have the effect of introducing new competitors in the market. Having put into

play the issue of the source of Teva’s revenue growth and the subject of competition in the

generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and the

true source of its revenues.

       167.    On the same October 29, 2015 call, Olafsson was asked if he could “follow up . . .

on what your pricing trends are here in the US for the generic business.” Olafsson responded:

       So on the pricing, I think pricing is obviously based on the competition. We have
       talked about that the overall pricing trend is down. What will change that obviously,
       there is different things. I think the consolidation of the customers affect pricing. I
       think the backlog, when the FDA releases the backlog of 3,000 NDA affect pricing.

       168.    The statements set forth in ¶ 167 above were materially false and misleading and/or

omitted material facts because Teva’s pricing was not “obviously based on the competition” and

the Company was not operating in a competitive environment. In truth, Teva’s undisclosed and

inherently unsustainable strategy to take massive short term price increases depended in large part

on a lack of competition. In fact, during the Relevant Period, Teva increased the prices of multiple

drugs, many of which were done in tandem with its purported competitors. See ¶¶ 71-95.

               13.     November 19, 2015

       169.    On November 19, 2015, during a Global Healthcare Conference call hosted by

Jefferies LLC, in response to a question asking Desheh to “give us your 20,000 foot view on

pricing” and asked “[i]s it an issue . . . where do you go on price,” he stated:

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       There is a lot of noise around pricing issues. Some of it’s coming from politicians
       who are driving agenda, which is very, very legitimate.

       Our exposure to all these things is very minimal. . . .

       Generic prices? There are no – I believe that there are many examples for
       competitive environment, real competition, like we see in the generic market in the
       United States. . . .
       So it’s a highly competitive environment with players coming from all over the
       world, with a very fierce price competition. The price of generic went down 50%
       over the past 10 years. . . .

       And Teva was not associated with any of that. So we’re playing a competitive
       game. We’re playing it fairly. We, of course, play by the book and by the rule. And
       we believe that our exposure to any initiative on price reduction in the United
       States is as a small as anybody can have. . . .

       But we also saw that there is a floor to this. And the floor is a common economic
       and business model. And wherever prices have come down to a level that it doesn’t
       make sense, companies like us just pull out. We refuse to participate in tenders that
       generate no profit. And we just pull out . . . . prices go up, because there is less
       supply over the demand.

       170.    The statements set forth in ¶ 169 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce price competition” or operating in a

“highly competitive environment.” In truth, Teva’s undisclosed and inherently unsustainable

strategy to take massive short term price increases depended in large part on a lack of competition.

In fact, during the Relevant Period, Teva increased the prices of multiple drugs, many of which

were done in tandem with its purported competitors. See ¶¶ 71-95.

       171.    Similarly, Desheh’s statements set forth in ¶ 169 above – including that Teva’s

“exposure to all these things is very minimal,” “we believe that our exposure to any initiative on

price reduction in the United States is as a small as anybody can have,” and “Teva was not

associated with any of that” – were false and misleading because Teva was highly dependent on

its strategy to implement massive short term price hikes. In fact, from FY13 through FY15 Teva

generated more than $1.6 billion through price increases alone. Thus, any political initiative, such
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as permitting Medicare to negotiate drug prices, could lead to drastic price decreases.

               14.     January 11, 2016

       172.    At a January 11, 2016 J.P. Morgan Conference, a J.P. Morgan analyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to navigate

the current environment?” In answer to this question, Olafsson responded:

       The generic pricing – we need to keep in mind there’s a lot of talk about inflations
       in generic pricing. But what we see is there’s – overall on our total portfolio of 270
       products, there is a slight decrease in pricing. It’s low single digit, but year on year
       we see a low single-digit decrease because on 95% of our portfolio, we experience
       price decline. And then on 5%, we might be flat or a slight increase. So, overall,
       we see that in the business. There’s a lot of headlines of examples of big price
       increases in generics. But when you are a company of the size of Teva and you have
       the portfolio that we have today – as I said, 270 products for the whole of the
       portfolio – there is a decline.

       173.    The statements set forth in ¶ 172 above were materially false and misleading and/or

omitted material facts. Olafsson’s statement that “on 95% of our portfolio, we experience price

decline” had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY15 Teva generated more than $1.6 billion through price increases alone. This strategy

was inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog

at the FDA, which would have the effect of introducing new competitors in the market. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition in

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the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and the

true source of its revenues.

               15.     February 11, 2016

       174.    On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 (“Q4 2015”) and full year 2015 (“FY 2015”) financial results (“Q4

2015 Press Release”). The Q4 2015 Press Release disclosed a YOY increase in generic profit of

$7 million, or 1%, attributed “primarily” to: “[T]he reduction in S&M expenses, partially offset”

by, in part, “lower sales of budesonide (Pulmicort®) in the United States.”

       175.    Also on February 11, 2016, Teva filed its Annual Report with the SEC on Form 20-

F, signed by Desheh. Vigodman and Desheh also signed the consolidated balance sheet. The 2015

Form 20-F a YOY increase in generic profit of $500 million, or 24%, attributed “primarily” to

“lower S&M expenses and higher gross profit,” which was “mainly a result of higher revenues

from new products launched in the United States during 2015, lower other production expenses

and higher gross profit from API sales to third parties.”

       176.    The table below reflects Teva’s improved profits as reported in 2015:

   2015 ($ millions)                  Q1              Q2        Q3            Q4        Full Year

   Reported YOY Change in
                                     $296          $193         $20           $7             $516
   Generics Profit

       177.    On February 11, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

4Q15 and FY2015 earnings call. On the same call, Olafsson stated:

       2015 was a very good year for Teva Generics. Thanks to our strong performance of
       the base business and good new products launches, we delivered great results in the
       US and in major markets globally. We continued improving the operating profit of
       the generic business, coming from $1.68 billion operating profit in 2013, or 17% of
       revenue, to $2.68 billion operating profit in 2015, or 28% of revenue. This is $1
       billion improvement in operating profit over 24 months period.

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       So how did we do this? Not by pricing but by portfolio mix, new products, and
       efficiency measures.

       178.    During the February 11, 2016 earnings conference call, Olafsson made the

following statements regarding pricing in the generic segment:

       Briefly, on pricing. As I’ve previously stated, we and the generic industry overall
       don’t see price inflation of generics as it sometimes is portrayed in the media. On
       the contrary, for 2015, we saw mid-single-digit price decline for the overall
       business.

       In the U.S., our largest market, we saw approximately 4% price erosion. . . .

       Looking forward, the conjunction of price erosion with the mix changes, focus on
       cost structure, and the new product launches, we continue to drive our business
       growth, both top line and bottom line. We expect to see the same in 2016. Nothing
       today points to a significant change in the generic pricing environment.

       179.    On the same call, a Guggenheim Securities, LLC analyst asked Olafsson about

pricing pressures discussed by Teva’s competitors during the quarter. In response, Olafsson denied

that there was any pricing pressure:

       As I mentioned in the beginning, we didn’t see anything change in fourth quarter.
       We saw approximately 4% pricing pressure or price decline in the US business over
       2015 flat over the year. Some of our competitors have seen more pressure. I think
       overall, it might have to do with some dosage form differences. But also I think we
       have been right in adjusting the business.

       180.    The Investor Slides presented during the February 11, 2016 earnings conference

call contained the following statements attributed to Olafsson: “Do not see the inflationary pricing

discussed in the media[.] Also do not see the sharp drop in prices other competitors have seen

recently[.] Mid-single digit increases in 2015[.] Expect 2016 to maintain the current trend.”

       181.    The statements set forth in ¶¶ 174-80 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) touting the purported success of their

generics business and (ii) denying any knowledge of price inflation, had the effect of concealing,

and/or failed to disclose, that, in truth, the Company’s reported financial results and success in the
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generic drug market, including improved revenues, were driven primarily by its undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom it purportedly competed with. In fact, from FY13 through FY15 Teva generated more than

$1.6 billion through price increases alone. Moreover, during FY15 Teva generated more than $747

million through price increases alone, representing a YOY increase in inflated revenues of more

than $91 million, or nearly 20% of the reported YOY change in generics profit. This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog

at the FDA, which would have the effect of introducing new competitors in the market. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition in

the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and the

true source of its revenues.

       182.    In the 2015 20-F filed on February 11, 2016, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “competitive pricing strategy,”

as well as its “competitive advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       183.    The 2015 Form 20-F also described the “intense competition in the generic market”

and the primary factors driving growth in Teva’s Generic Medicines segment:

       Sales of generic medicines have benefitted from increasing awareness and

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       acceptance on the part of healthcare insurers and institutions, consumers, physicians
       and pharmacists globally. . . . These conditions also result in intense competition in
       the generic market, with generic companies competing for advantage based on
       pricing, time to market, reputation, customer service and breadth of product line.
       We believe that these factors, together with an aging population, an increase in
       global spending on healthcare, economic pressure on governments to provide less
       expensive healthcare solutions, legislative and regulatory reforms and a shift of
       decision-making power to payors, will lead to continued expansion in the global
       generic market, as well as increased competition in this market.

       184.    The same Form 20-F also described the following Risk Factor:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of new companies selling such product and the
       timing of their approvals.

       185.    During the February 11, 2016 earnings conference call, a Susquehanna Financial

Group analyst also asked Olafsson about the Company’s relationships with customers and what

impact the Actavis deal was having on pricing. Olafsson responded:

       We will pride ourselves of the service level of the high quality of the product. But
       at the end of the day, there is a fierce competition in the market. Over 200 generic
       companies, and really there is no bundling or anything like that, that can go on in
       the market. So overall, same as without the deal. But we see the opportunity going
       forward based on the huge pipeline that we have.

       186.    During the same call, Olafsson also stated that the U.S. generics business had been

“stable over the year” and “[t]here is a lot of competition in the US, there is no question about it.

As you well know, there are over 200 generic competitors in the market and the competition is

fierce.” Olafsson claimed Teva’s competitive advantage was having “the largest [drug] pipeline”

and “an extremely good supply chain.”

       187.    The statements set forth in ¶¶ 182-86 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition,” “a lot of

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competition in the US,” or operating in a competitive environment. Nor was Teva working to

combat the purported effects of competition, which resulted in “margin pressures,” through a

“competitive pricing strategy.” In truth, Teva’s undisclosed and inherently unsustainable strategy

to take massive short term price increases depended in large part on a lack of competition. In

fact, during the Relevant Period, Teva increased the prices of multiple drugs, many of which were

done in tandem with its purported competitors. See ¶¶71-95.

               16.    March 8, 2016

       188.    On March 8, 2016, during a Cowen & Company Healthcare Conference call,

Olafsson stated:

       So we came out in our fourth quarter results, and told the market that we had seen
       approximately 4% price decline in the US market in 2015. . . .

       I think overall the pricing hasn’t changed that much. There was a lot of talk about
       inflation in generic pricing. But we never saw that. That was an individual molecule
       basis, they used example of products that really were not generic products, even
       though they were off-patent, and in an environment where there was an inflation
       never really happened in the generic business. And there has been a decline there. .
       ..

       So as of today, I came out with 4% [price erosion] in 2015. As of today, I don’t see
       any big changes in the pricing environment. It’s relatively stable. 4% is worse than
       maybe two years ago. But it’s similar to what we saw in 2014. But overall, these
       are the three things that affect the price. And there’s nothing on the horizon that
       should affect the pricing as of today.

       189.    During the same conference, Olafsson also discussed Teva’s profitability in its

generic segment:

       In terms of growing the profitability, from 2013 to 2015, we grew the operating
       profit of the generic business from 17% in 2013, and we exited for the full year of
       2015 we were at 28.1%. So it’s about 1,100 basis points we improved the
       profitability on approximately $10 billion in revenue. So it was a significant
       improvement over a 24-month period. Part of that was due to the improvement in
       our cost of goods sold, very important in consolidation of plants and looking for the
       money there. But also part of it was due to portfolio selection and the cost
       infrastructure.
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       190.    The statements set forth in ¶¶ 188-89 above were materially false and misleading

and/or omitted material facts. Olafsson’s statements had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results and success in the generic drug

market, including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, from FY13 through FY15 Teva generated more than $1.6

billion through price increases alone. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect

of introducing new competitors in the market. Having put into play the issue of the source of Teva’s

revenue growth and the subject of competition in the generic drug markets, Defendants had a duty

to disclose Teva’s price increase strategy and the true source of its revenues.

               17.     May 9, 2016

       191.    On May 9, 2016, Teva filed its 1Q16 Form 6-K with the SEC, which was signed by

Desheh. Vigodman and Desheh both signed the consolidated balance sheet in the 1Q16 Form 6-

K. In the 1Q16 Form 6-K, Teva reported a YOY decline in generic profit of $215 million, or 27%,

attributed “primarily” to:

       [L]ower gross profit, as well as higher R&D expenses,” while lower gross profit
       was “mainly a result of lower sales of high gross profit products in the United
       States, higher production expenses and lower gross profit in our European markets.

       192.    On May 9, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s 1Q16

earnings conference call. During the call, Olafsson explained away the decline in generic profit

margin by blaming it on issues other than pricing:

       When compared to first quarter 2015, the operating profit declined by 360 basis
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points, fully explained by the exclusive launch of generic Nexium, esomeprazole,
in the first quarter 201[5]. Excluding the exclusivity period of esomeprazole in first
quarter, the profit margin of the generic segment was 24.4%.

193.   During the call, Olafsson also discussed pricing on the May 9, 2016 earnings call:
The global generic drug market has no shortage of manufacturers supplying vital
medicines to patients in the US and around the world. . . . As you know, in February,
during the fourth-quarter reporting season, several industry participants referenced
a tougher pricing environment than what they have experienced in previous years,
as a reason for the softness in their respective generic businesses. Now, we fast-
forward to April and May, to a new reporting season, and we find the number of
companies citing a tougher pricing environment or price deflation seems to have
grown at an almost incredible rate. The referencing of generic drug price deflation
has not been limited to the manufacturers, but is also being cited by those on the
purchasing and distribution side, leaving many to wonder about what is the real
opportunity in generics.

As always, I will do my best to provide you with as much color as possible on what
Teva is experiencing, in regards to pricing and volume; and more importantly,
where we are headed. Throughout the ongoing debate this year about the level of
generic price erosion in the United States, Teva has been very consistent and clear
with investors. Teva has not seen any fundamental change or worsening in the
pricing environment – something we have been consistent about telling investors
all year. Teva experienced approximately 4% price erosion in the United States last
year, and our guidance for this year is that it will remain the same. In fact, Allergan,
and Mylan, two other companies with broad and diversified portfolios and high
quality products, have also reported similar trends. From where I sit today, there is
nothing that changes my mind about that. Nothing has happened in the last two
quarters that has changed the pricing environment. What this boils down to is each
individual company’s business model. . . .

194.   During the same call, Olafsson stated:

[W]hy is Teva different? Why is our performance better than most generic
companies? Why are other companies continuing to say, there is pricing pressure
greater than what we at Teva are seeing?

I see three reasons: first, the companies with older portfolio seemed to complain
much more loudly. What I mean by that is, that if you look carefully at some
companies with older portfolios, they will tell you that the pricing environment is
worsening. But this is not an environment. This is purely a reflection of their
portfolios, some of which are concentrated in one, or very few, therapeutic classes
that are experiencing normal competition. This takes me to the second factor, new
product launches. When companies don’t have new product launches, and the
business is declining, they tend to talk about the market more than anything else.
This is not a reflection of the environment, but rather again, a reflection on a
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       company’s portfolio.

       The third factor is companies that are trying to grow their market share. Some
       companies are aggressive in going after market share for a variety of reasons,
       including to utilize excess capacity with relatively cheap volume. But in order to do
       that, you’ll have to drive down price. Buying new market share in price will cost
       you on the bottom line. We, on the other hand, are seeing our volumes go down,
       deliberately, net-net approximately 1% a year, because we think that is better for
       our business, and we would rather reduce capacity, than fill it with less profitable
       products. So if you look at this slide, you’ll see that over the past few years, we
       discontinued 70 products. At the same time, we introduced 68 new ones in the US.

       195.    During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

       We have taken a significant step to transform our generic business, solidify our
       foundation, increase our profitability, and to better position us to generate
       sustainable long-term growth. These many steps have included portfolio
       optimization, strengthening our capabilities in R&D, and manufacturing of
       complex products, regaining a leading position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much,
       much more. These are the very capabilities that companies must possess in order to
       thrive at the global level. We have created a unique and differentiated platform,
       positioned to extract significant value in the global growing generic space.

       196.    The Investor Slides that the Company presented during the May 9, 2016 earnings

conference call contained the following statement, attributed to Olafsson: “What has changed in

the US pricing environment since Q4 2015? The short answer is…nothing. We still expect 4%

price erosion on our portfolio.” The Investor Slides also contained the statement: “There is no

change in the pricing environment [.] It all comes down to each company’s business model . . .

Why is Teva generics performance better than most Gx companies? Portfolio optimization ….

[and] [n]ew product[].”

       197.    The statements set forth in ¶¶ 191-96 above were materially false and misleading

and/or omitted material facts. Defendants’ statements had the effect of concealing, and/or failed to

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disclose, that, in truth, the Company’s reported financial results, including the YOY decline in

generic profits, were driven primarily by the unsustainability of Teva’s undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by May 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the source of its revenue.

               18.     May 10, 2016

       198.    On May 10, 2016, on a Bank of America Merrill Lynch Healthcare Conference call,

Olafsson discussed the Company’s 1Q16 financial results and the pricing environment in the

generics market:

       I mentioned on that call, and want to reemphasize here, there’s nothing I have seen
       which shows a worsening pricing environment. We saw a price erosion in the US
       last year of approximately 4%. We guided the market that we would see the same
       pricing of approximately deflation of 4% in 2016. And where I sit today, there is
       no change to that.

       I know many of the competitors in the generic space, and in the specialty space, are
       talking about a lot of pricing pressure, but it shouldn’t be. There is nothing that has
       happened over the last two quarters which has changed fundamental the market.
       And I feel that we are blaming the environment on individual company’s business
       model more than anything else because as long as you have the right portfolio, you
       have had the right investment in R&D, you really have a strong opportunity.

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       199.    During the call, Olafsson also stated:

       You have to keep in mind that in the US generic space there’s approximately 230
       competitors. Two hundred and thirty generic companies in the US that are offering
       products. So the competition is heavy. So if you show that you grow 3%, let’s say
       3% volume year-on-year, that will cost you on pricing.

       There’s no question about it. So that’s why I’m highlighting that in Teva world, we
       assume approximately 1% decline in the volume to maintain the pricing. So it’s not
       that we are the only good house in the neighborhood, and I don’t think this is a bad
       neighborhood, I think it’s a good neighborhood. It’s unique. To maintain your
       business you need to think about the future. And I think that’s at the end of the day
       what differentiates us.

       200.    The statements set forth in ¶ 198 above were materially false and misleading and/or

omitted material facts. Olafsson’s statement that nothing had changed in the pricing environment

in which Teva operated had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by May 2016. Having put into play the issue of the source of Teva’s revenue growth and the subject

of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.



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               19.     June 3 and 8, 2016

       201.    On June 3, 2016, during a Sanford C. Bernstein Strategic Decisions Conference

call, Vigodman made the following statement regarding pricing:

       [W]e are very consistent. Our message was conveyed, and we will continue to
       convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not
       something which is different from what we said during 2015. By the way, we
       continue saying it in 2016. I think our results in Q1 demonstrated that. And with
       basically our operating profits towards one of the (inaudible) in our history on kind
       of a naked basis, so generic business in the US without launches. So, in this respect,
       we are very continuing with our messages, and that’s what we continue seeing.

       202.    During a June 8, 2016 Goldman Sachs Healthcare Conference call, Olafsson again

discussed pricing:

       When we signed that [Actavis] deal in July, we talked about 4% price erosion in
       the US generic business. And we are still talking about the same number, what we
       see in the base business. And we can talk about that later, how we look at it versus
       others. But really the fundamental -- so what has changed in the market is that
       currently the multiples for generic companies, Mylan and us, has been dragged
       down, I think, due to other companies in the market partly, due to Valeant, due to
       Endo, due to comments that were made in Perrigo and Mallinckrodt about the
       generic business, which has affected the whole industry.

       203.    The statements set forth in ¶¶ 201-2 above were materially false and misleading

and/or omitted material facts. Defendants’ statements that nothing had changed in the pricing

environment in which Teva operated had the effect of concealing, and/or failed to disclose, that,

in truth, the Company’s reported financial results were driven primarily by its undisclosed strategy

to take massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million
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through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by June 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

               20.     July 13, 2016

       204.    In a July 13, 2016 call to announce the acceleration of Teva’s debt offering,

including the Notes Offering, to the end of July, a Citigroup analyst asked: “[C]an you comment

on the generics pricing assumptions that you have baked into your forecast? Following on that,

Siggi, maybe you could just comment on the generics pricing environment, more broadly, that you

are currently seeing in the marketplace.” In response, Olafsson indicated that Teva had still not

seen any change in the pricing environment, and that this stable pricing was baked into the

assumptions underlying Teva’s guidance and projections:

       Our assumption and what we assume is basically approximately 5% organic growth
       that we see year on year.…

       In terms of generic pricing in the second quarter, we saw no change in the pricing.
       We saw a stable environment, as we talked about, from first quarter into second
       quarter. Obviously, in second quarter, as we have highlighted to investors, there
       was no significant new launches that we saw in Teva, which obviously impacts the
       overall generic numbers. The pricing has remained stable.…

                                                ***

       Our assumption for the rest of the year is basically assuming the same pricing
       erosion. It is difficult to say; but as I’m sitting here today, with the information I
       have in hand, we are assuming and now forecasting for the guidance for the
       remainder of the year same pricing assumption as we have had for the first half of
       the year.

       205.    The statements set forth in ¶ 204 above were materially false and misleading and/or

omitted material facts. Olafsson’s statement that nothing had changed in the pricing environment
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in which Teva operated had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by July 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

               21.     August 4, 2016

       206.    On August 4, 2016, in a press release filed with the SEC on Form 6-K and signed

by Desheh, Teva announced its 2Q16 financial results. That same day, Teva also filed with the

SEC its 2Q16 Form 6-K, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 2Q16 Form 6-K. The Company’s 2Q16 6-K reported a YOY decline in generic

profit of $115 million, or 16%, attributed “primarily” to:

       “[L]ower gross profit,” which in turn was “mainly a result of loss of exclusivity on
       certain products as well as increased competition on other products in the United
       States … and higher production expenses…”

       207.    On August 4, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s 2Q16

earnings conference call. On the call, Desheh attributed the poor performance of the Company’s


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generic segment to factors other than its inability to maintain its long undisclosed price increases:

       Revenues of our US generics business was impacted by competition to our
       Aripiprazole, Esomeprazole, and Budesonide which were the major drivers of our
       generic business in the US in the second quarter last year.

       208.    On the same call, in response to a question about “pricing stability” in light of

Teva’s U.S. generic revenues coming in “a little lower than expectations,” Olafsson stated:

       I think, first of all, it’s the old story in the generic business, and we have talked
       about it many times. It’s the short-term volatility, but a long-term profitability that
       we are seeing in the generic business. I think on the US side, clearly the impact we
       highlighted, the impact of having a competition on Aripiprazole, Esomeprazole,
       and Budesonide was very, very significant. I think overall, the underlying business
       did well. . . .

       In terms of the pricing, the pricing is stable to the same degree as before. We saw
       approximately in the US, 4% price erosion in the business, in a way very stable
       from the first quarter.

       209.    Later in the call, Olafsson reiterated that “overall the business itself is fairly stable.

As I mentioned in the beginning, we are seeing exactly the 4% price erosion…. 4% price erosion

in the US.”

       210.    On the same call, a J.P. Morgan analyst asked about “price opportunities” on the

combined Teva-Actavis generic portfolio. In response, Olafsson stated:

       On the pricing, as you know, and we know that, the size really doesn’t affect the
       pricing. And I have a strong feeling when you have over 200 competitors, size has
       nothing to do about pricing. I think the pricing comes with shortages in the market.
       If you have an exclusive product, if there’s some kind of dysfunction in the market,
       there might be a small pricing opportunity that usually comes in and comes out. But
       overall, the size, and being a combined company doesn’t play into that. I feel quite
       strongly about that.

       211.    The statements set forth in ¶¶ 206-10 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in

generic revenue, and (ii) that nothing had changed in the pricing environment in which Teva

operated had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s
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reported financial results, including the YOY decline in generic profits, were driven primarily by

its undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by August 2016. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price

increase strategy and the true source of its revenues. Moreover, Olafsson’s suggestion that pricing

decisions were driven by organic market factors – including that “pricing comes with shortages in

the market” – was false and misleading in light of the Company’s undisclosed practice of

implementing massive short term price increases to boost revenue.

       212.    During the August 4, 2016 earnings conference call, Olafsson also stated that

“competition is fierce” in the U.S. generics market and “[t]here’s no question about it.”

       213.    The statements set forth in ¶ 212 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce” competition, or operating in a

competitive environment. In truth, Teva’s undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on a lack of competition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were done

in tandem with its purported competitors. See ¶¶71-95.


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                 22.    September 7 and 9, 2016

       214.      On September 7, 2016, during a Wells Fargo Securities Healthcare Conference call,

Desheh stated:

       Now, with talking about prices of the base business, product that we’ve been selling
       more than two years already, the prices are very stable there. Might even go up a
       little bit here and there, depending on demand and supply, and demand and
       availability of competing products in the market, but you don’t see -- there you
       don’t see the erosion. Where we see erosion is that you know, you have six months
       exclusivity, you start with the high price, and then obviously more competitors go
       into the market and the price goes down. But when we look at the base, there’s no
       -- there’s no pressure on prices.

       215.      On September 9, 2016, during the Generic Medicines Business Overview call,

Olafsson stated:

       There is no inflation in the generic pricing. . . .

       So what is the secret sauce? It’s not very complex. This has been the same winning
       formula I have talked about many, many times. Really to be top three in the market
       is so important.

                                                ***

       I think what I want to highlight is there will always be cycling of the pricing of
       generics. I have in my career, 23 years, never seen a real inflation. I mentioned to
       some of you before, I have been in the market where price declines was
       approximately 1% to 2%, probably 2%, and I’ve been in the market in 2006 and
       2007 when the price decline was 7%, 8%. And then it’s everything in between.

       So far, what we saw in the end of second quarter was approximately 4% in the US
       and 5% global. So, there will be a fluctuation, and obviously, it will affect every
       generic Company. But the message I want you to take from this slide is with our
       business, with the size of our portfolio, with the flexibility of our manufacturing
       network, with the industry-leading position in the market, we are more shielded
       towards the prices up and down.

       216.      On the same call, Olafsson made the following statement regarding industry talk

about price inflation: “so first of all, we need to differentiate generics from branded pricing. And

people that say that the generic—there’s a big generic price inflation, are simply wrong.”

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       217.    Also during the September 9, 2016 call, a Goldman Sachs analyst noted there had

been speculation that Teva was not raising prices during the approval process for the Actavis deal

and asked if the Company expected the “landscape in terms of pricing to change at all, now that

the deal is closed.” Olafsson responded:

       So first of all, it doesn’t work like we wake up when we are one Company, and we
       can take price increases. Simply, it doesn’t work like that in generics. When price
       increases are taken, there’s some kind of abnormality in the business. There are
       shortages.

       Remember that there’s 208 generic companies out there that are offering product,
       and an average of every molecule we have, there is more than five competitors. So
       there’s always somebody happy to take a little bit lower price. So it’s a very
       competitive business we’re in. I think overall, obviously, we look at each
       opportunity, but we come back to what Andy said and he will say it better, is we
       have an opportunity to work with it. We have a broader portfolio now.

       218.    During the September 9, 2016 conference call, the Company presented Investor

Slides related to pricing pressures in the Generics market. The slides contain the following

statements attributed to Olafsson:

       • “Generic Price erosion varies year-to-year” and “Chasing market share will destroy
         value.”

       • Listing Teva’s advantages as: “Price challenges are product specific – a broad diverse
         portfolio mitigates risk[;] Strong understanding of the market[;] Offering differentiated
         products – lower competition, durability[;] Competitive cost position[;] Industry leading
         pipeline – customers want access to our new products which brings them value.”

       • “Price erosion is nothing new.”

       • Listing how Teva is positioned to succeed in the market as: “Teva operations is a
         competitive advantage and capable of creating additional value[;] Allows Teva to
         maximize the value of the best R&D engine in the industry[;] Diverse portfolio and
         competitive cost structure allows for long-term value creation.”

       219.    The statements set forth in ¶¶ 214-18 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in


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generic revenue, (ii) that nothing had changed in the pricing environment in which Teva operated,

and (iii) denying price inflation in the generic business, had the effect of concealing, and/or failed

to disclose, that, in truth, the Company’s reported financial results were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable in

light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by September 2016. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price

increase strategy and the true source of its revenues. Moreover, Desheh’s and Olafsson’s

suggestions that pricing decisions were driven by organic market factors – including that “prices

are very stable there . . . depending on demand and supply” and “When price increases are taken,

there’s some kind of abnormality in the business” – was false and misleading in light of the

Company’s undisclosed practice of implementing massive short term price increases to boost

revenue.

       220.    The statements set forth in ¶ 217 above were also materially false and misleading

and/or omitted material facts because Teva was not operating in a “very competitive business.” In

truth, Teva’s undisclosed and inherently unsustainable strategy to take massive short-term price

increases depended in large part on a lack of competition. In fact, during the Relevant Period, Teva


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increased the prices of multiple drugs, many of which were done in tandem with its purported

competitors. See ¶¶71-95.

               23.    November 15, 2016

       221.    On November 15, 2016, in a press release filed with the SEC on Form 6-K, and

signed by Desheh, Teva reported its 3Q16 financial results. That same day, Teva filed its 3Q16

Form 6-K with the SEC, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 3Q16 Form 6-K. The Company’s 3Q16 Form 6-K also reported a YOY

increase in U.S. generic revenue of $261 million, or 25%, attributed to increased revenues from

Actavis. However, after removing Actavis’ $538 million in U.S. generic revenues that quarter,

Teva’s U.S. generic revenues from its legacy business suffered a YOY decline of $277 million, or

27%. In discussing the increased revenues that were due to Actavis, Teva disclosed that those

revenues were:

       [P]artially offset by loss of revenues following our divestment of certain products
       in connection with the acquisition, a decline in sales of budesonide … due to
       increased competition and the loss of exclusivity on esomeprazole.

       222.    Teva’s 3Q16 Form 6-K also contained the following statement regarding the

subpoenas the Company had received from the DOJ and the Connecticut AG: “Teva is not aware

of any facts that would give rise to an exposure to the Company with respect to these subpoenas.”

       223.    On November 15, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

3Q16 earnings conference call. During the call, a Credit Suisse analyst asked:

       [J]ust around your comments you made around generic drug pricing, you mentioned
       that 7% erosion this quarter, but you said you’re confident it will still remain in the
       mid single-digits going forward. So can you just maybe provide a little bit more
       insight, there’s obviously an area that there’s a lot of investor focus, just what gives
       you the confidence that what’s going to happen in the coming quarters will be
       different than what you saw this quarter?

In response, Olafsson stated:
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        Let me start on the drug pricing, so overall, like previous quarters, there hasn’t been
        any fundamental change in the US drug pricing. And what we saw in the difference
        between the 5% or mid single-digit we guided for going into it, versus exiting at
        7%, was the impact of the pricing impact on the divested product.

        224.    When pressed on his explanation by a J.P. Morgan analyst, Olafsson reiterated:

“where I sit here today, experiencing the market, there hasn’t again been any fundamental change.”

        225.    A Wells Fargo analyst also asked Olafsson on the same call if he was saying that

“the acceleration in the price decreases . . . this past quarter aren’t a result of increased competition

. . . and . . . not a result of having to tame previous price increases, or give back some of those?”

In response, Olafsson stated:

        No, basically, the main reason, David, was that we had to divest a very good
        portfolio of products that had limited competition, so we had to divest it. What our
        customers did, as they do, is that there is a new player in the market that took over
        those products, and that became a pricing pressure on roughly about 60 molecules
        of -- and these were one of our top -- the top molecules we had in our portfolio. So
        there was an instability that happened in the market during the month of August,
        when the new owners were taking market share. . . . It didn’t change the structure
        of the market, or the chemistry of the market, but we saw the impact on the divested
        molecule significantly more than we saw for on the rest of the portfolio which gave
        us a 7% versus 5%, which we assumed going into the quarter.

        226.    The statements set forth in ¶¶ 221-25 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in

generic revenue, and (ii) that nothing had changed in the pricing environment in which Teva

operated had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results, including the YOY decline in generic profits, were driven primarily by

its undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable in

light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which
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would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by November 2016. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price

increase strategy and the true source of its revenues. Moreover, Olafsson’s suggestions that price

decreases were driven by organic market factors – including because Teva “had to divest a very

good portfolio of products that had limited competition” – was false and misleading in light of the

Company’s undisclosed practice of implementing massive short term price increases to boost

revenue, which, by this time, was no longer sustainable.

               24.     January 6, 2017

       227.    During a January 6, 2017 Business Outlook Conference Call, Vigodman announced

that Teva would provide 2017 guidance early in January 2017. During the call, Vigodman claimed

Teva’s past success was not due to price increases, stating:

       Since the start of 2014, one of our greatest priorities has been to increase the
       profitability of our generics business. In the first three years of this great effort, we
       have been able to improve significantly the margins of Teva’s standalone generics
       business. This has been accomplished with a strong emphasis on the cost of goods
       sold, product mix, and the overall cost structure.

       228.    The statements set forth in ¶ 227 above were materially false and misleading and/or

omitted material facts. Defendants’ statements touting the purported success of their generics

business had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

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manufacturers whom it purportedly competed with. Indeed, from FY13 through FY16 Teva

generated more than $2.1 billion through price increases alone. This strategy was inherently

unsustainable in light of, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

FDA, which would have the effect of introducing new competitors in the market. In fact, by this

time, the risk from Defendants’ undisclosed strategy had begun to materialize. While Teva

generated more than $541 million through price increases during FY16, that figure represented a

decline of more than $200 million, or nearly 30%, from FY15. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

               25.     February 15, 2017

       229.    On February 15, 2017, Teva filed its 2016 Annual Report with the SEC on Form

20-F, signed by Desheh. Desheh signed the consolidated balance sheet. The Company’s 2016

Form 20-F also reported a YOY decline in U.S. generic revenues of $39 million, or 5%. When

removing the impact of Actavis’ $1.168 billion in U.S. generic revenues, Teva’s U.S. generic

revenues from its legacy business suffered a YOY decline of $1.4 billion, or 29%. The Form 20-

F explained that the decline:

       “resulted mainly from the loss of exclusivity on esomeprazole … and aripiprazole
       …, a decline in the sales of budesonide … due to increased competition, loss of
       revenues following our divestment of certain products in connection with the
       Actavis Generics acquisition and the decline in sales of capecitabine.

       230.    The statements set forth in ¶ 229 above were materially false and misleading and/or

omitted material facts. Defendants’ statements citing non-price factors for the decline in generic

revenue had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results, including the past success and current YOY decline in generic profits,
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were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog

at the FDA, which would have the effect of introducing new competitors in the market. In fact,

by this time, the risk from Defendants’ undisclosed strategy had begun to materialize. While Teva

generated more than $541 million through price increases during FY16, that figure represented a

decline of more than $200 million, or nearly 30%, from FY15. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

       231.    In the same February 15, 2017 Form 20-F, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “strategic” and “competitive

advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio.

       232.    The Company also described in the Form 20-F the “intense competition in the

generic market” and the primary factors driving growth in the Teva’s Generic Medicines segment:

       Sales of generic medicines have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers, physicians
       and pharmacists globally. . . . These conditions also result in intense competition in
       the generic market, with generic companies competing for advantage based on
       pricing, time to market, reputation, customer service and breadth of product line. .
       . . We believe that our robust product pipeline, which has been enhanced with the

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       Actavis Generics business, and ability to continuously launch new products are
       critical to our growth in the face of continuing price erosion expected in the generics
       market.

       233.    Teva’s 2016 Form 20-F also described the following Risk Factor:


       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of companies selling such product, including
       new market entrants, and the timing of their approvals.

       234.    The statements set forth in ¶¶ 231-33 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. In truth, Teva’s undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on a lack of competition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were done

in tandem with its purported competitors. See ¶¶ 71-95.

       B.      Defendants Violated Item 303 of SEC Regulation S-K and Item 5 of
               Form 20-F

       235.    Defendants violated their obligations pursuant to Item 5 of Form 20-F and Item 303

of SEC Regulation S-K by failing to disclose the reasons and factors contributing to the increase

or decrease in revenues relating to Defendants’ undisclosed and inherently unsustainable price

increases.

       236.    More specifically, Item 5 of Form 20-F required Teva to disclose the source of

material increases and decreases in revenues, including those resulting from Defendants’

undisclosed and inherently unsustainable price increases. Defendants did not do so. Instead, they

made numerous affirmative misleading statements in the MD&A section of the 20-F which

suggested Teva’s U.S. generics business was subject to “intense competition.”
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       237.    Teva filed its annual financial statement with the SEC in a Form 20-F filed under

section 13(a) or 15(d) of the Securities Exchange Act of 1934. The SEC explicitly requires

disclosures detailing changes in price that impact reported revenues in a Form 20-F. Item 5 of

Form 20-F (Operating and Financial Review and Prospects) states:

       To the extent that the financial statements disclose material changes in net sales or
       revenues, provide a narrative discussion of the extent to which such changes are
       attributable to changes in prices or to changes in the volume or amount of products
       or services being sold or to the introduction of new products or services.. . discuss,
       for at least the current financial year, any known trends, uncertainties, demands,
       commitments or events that are reasonably likely to have a material effect on the
       company’s net sales or revenues, income from continuing operations, profitability,
       liquidity or capital resources, or that would cause reported financial information not
       necessarily to be indicative of future operating results or financial condition.

       238.    Item 5 of Form 20-F is analogous to, and subject to the same rules and requirements

as, the Management’s Discussion and Analysis of Financial Condition and Results of Operations

(MD&A) section of Form 10-K filed with the SEC. SEC Release No. 33-8350, Note 1.

       239.    As such, SAB 104 requires management to disclose in the MD&A section the

impact of artificial or collusive price increases: “Changes in revenue should not be evaluated solely

in terms of volume and price changes, but should also include an analysis of the reasons and factors

contributing to the increase or decrease.”

       240.    SEC Release No. 33-8350 further provides the following MD&A disclosure

guidance, requiring analysis and disclosure of volume and price changes affecting the Company’s

revenues in a situation analogous to the rise and decline in revenue from the Defendants’

undisclosed and inherently unsustainable price increases:

       For example, if a company’s financial statements reflect materially lower revenues
       resulting from a decline in the volume of products sold when compared to a prior
       period, MD&A should not only identify the decline in sales volume, but also should
       analyze the reasons underlying the decline in sales when the reasons are also
       material and determinable. The analysis should reveal underlying material causes
       of the matters described, including for example, if applicable, difficulties in the

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       manufacturing process, a decline in the quality of a product, loss in competitive
       position and market share, or a combination of conditions.

       241.    Additionally, SEC Release No. 33-8350 explicitly states that “[o]ne of the principal

objectives of MD&A is to provide information about the quality and potential variability of a

company’s earnings and cash flow, so that readers can ascertain the likelihood that past

performance is indicative of future performance.”

       242.    SAB 104 further states: “The Commission stated in FRR 36 that MD&A should

‘give investors an opportunity to look at the registrant through the eyes of management by

providing a historical and prospective analysis of the registrant’s financial condition and results of

operations, with a particular emphasis on the registrant’s prospects for the future.’”

       243.    Defendants violated this requirement, especially given their assertions that the

U.S. generic drug markets were competitive, without disclosing the source and magnitude of

revenues generated by Teva’s undisclosed and inherently unsustainable price increases.

VI.    ADDITIONAL ALLEGATIONS OF SCIENTER

       244.    Numerous facts give rise to a strong inference that, throughout the Relevant Period,

Teva and the Individual Defendants knew or recklessly disregarded that the statements identified

in Section V above were materially false and misleading and/or omitted material facts when made.

In addition to the specific facts enumerated above, the following facts also support a strong

inference of scienter:

       245.    The Individual Defendants Knowledge of and Control of Teva’s Generic’s

Pricing Supports Scienter. Throughout the Relevant Period, the Individual Defendants

closely monitored product-by-product pricing and deliberately chose which products to target

for price hikes. Between 2013 and 2015, when Teva was actively hiking prices and entering

into collusive agreements to drive profits, Teva's generic pricing was one of the first topics
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the Individual Defendants addressed in virtually all of the earnings conference calls

throughout the Relevant Period, and the Individual Defendants frequently discussed targeted

price increases and margin enhancement, including as follows:

  •      On October 31, 2013, Oberman revealed a "margin enhancement strategy" that involved
         focusing on "product by product. Individual products where we want to improve our
         margins.... It's a tweaking here and there of products that we are working very
         consciously on to improve our margin."


  •      On December 10, 2013, Oberman further explained that, in a year with few new product
         launches, Teva increased "pricing on a number of products" as part of a "value creation-
         based strategy" and forecasted "next year to recoup some of that price erosion."


  •      On May 1, 2014, Vigodman told investors that "we have been assessing markets and
         products, in order to terminate products and markets, which will not meet a minimum
         threshold of profitability. I strongly believe that there is significant strategic and
         economic value in global generics leadership. Teva must regain focus on its generic
         business, with strong emphasis on portfolio selection and management ...."


  •      On July 31, 2014, Olafsson represented to investors that "[w]e have taken the decision that
         in some of our markets, we look at the portfolio and we take a pricing decision, and see if we
         stay for this molecule or not."

  •      On October 30, 2014, Olafsson suggested to investors that "there's never a price increase
         on the base business as a whole. Like any other business, if there's a pricing opportunity
         that comes in the market, we look for that.... When there is an opportunity, when there is a
         shortage in the market, we obviously look for pricing like any other business."

  •      On December 11, 2014, Olafsson told investors that "[w]e are looking through our
         portfolio, what are the most profitable products we have. We work hand in hand with the
         manufacturing and the operation, if we need to cut the portfolio to reduce our cost; but we
         still want to retain our leadership in the US market."

  •      On January 13, 2015, Vigodman explained to analysts that opportunity for margin
         expansion in the generics business involved strong focus on "optimization of products
         and markets, product selection decisions." On March 12, 2015, Desheh told analysts that
         to drive "the absolute profit" and not just the profit margins, price increases must be
         managed correctly, stating that "[w]e see price increases, we manage it right. You have
         to manage [it] correctly, it can bounce back very, very easily.




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       246.    After the government scrutiny on generic drug price increases heightened, the

Individual Defendants addressed the issues directly with investors and falsely denied the price

hikes and collusive activities:

   •      On November 29, 2015, Desheh reviewed Teva's potential exposure from past conduct and
          represented to investors that "our exposure to all these things is very minimal." He further
          emphasized that Teva played the competitive game "by the book and by the rule."

   •      On January 11, 2016, Olafsson discussed his generics portfolio and conveyed that "on
          5%, we might be flat or a slight increase" and the remaining 95% experienced a "slight
          decrease in pricing."

   •      On February 11, 2016, in answering an analyst's question about contracting with large
          customers in the United States, Olafsson stated that "you are really fighting on a molecule
          by molecule basis. If there is a lowering of the prices, you either have to walk away from
          the business and that's that." In addition, "[w]e basically launched the product. We
          compete on pricing."

   •      On February 11, 2016, while touting Teva's $1 billion improvement in operating profit over
          a 24-month period, Olafsson offered "how did we do this? Not by pricing." Further, speaking
          on behalf of the industry, he stated ''we and the generic industry overall don't see price
          inflation of generics as it sometimes is portrayed in the media."

   •      On May 9, 2016, Olafsson suggested that Teva did not buy market share, but instead,
          "[w]e ... are seeing our volumes go down, deliberately." Furthermore "we also walk away
          when the competition is too fierce on a product."

   •      On June 8, 2016, Olafsson stated that, "about two years ago when they started the price
          increases[,] [t]here was a lot of shortages in the market. This is when the FDA went very
          strongly and had the import bans and things like that, which led to shortages, which meant
          that the overall business was doing much better."

   •       On September 9, 2016, Olafsson indicated that "pricing and pharmaceuticals are
           always a hot topic in an election year" and, with 208 generic companies, "an average
           of every molecule we have, there is more than five competitors. So there's always
           somebody happy to take a little bit lower price. So it's a very competitive business
           we're in. I think overall, obviously, we look at each opportunity ... we have an
           opportunity to work with it." In turn, Andy Boyer, Head of North America Generics
           after the Actavis acquisition, affirmed that "if ... there's been a change in marketplace
           dynamics due to supply chain or someone leaving the market, we will evaluate that
           and price our products accordingly."

   •       On December 14, 2017, CEO Kare Schultz, Teva's new CEO, stated that "[i]n order
           to secure that we have a long term sustainable portfolio, we are reviewing each and

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           every product worldwide, and we will make pricing adjustments to the extent that this
           is necessary.

       247.    This self-proclaimed personal involvement by the Individual Defendants supports

a strong inference that they possess knowledge of the true state of affairs of the business, and thus

had knowledge that their representations were misleading, or were reckless in not knowing.

       248.    In the absence of collusion, Teva’s generic drug price hikes during 2013 to 2015

would have been against its self-interest and unsustainable. The rational response to the massive

price increases would be for "someone happy to take a little bit lower price" and Teva would

either fight "on a molecule by molecule basis" or "walk away from the business and that's that."

In a commoditized business with multiple competitors, price increases would indeed "be a

small pricing opportunity that usually comes in and comes out" as companies could only gain

market share by competing on price. Yet, as explained herein, Teva and its co-conspirators

substantially maintained market share on the drugs subject to collusion with negligible pricing

competition.

       249.    Further, contrary to Olafsson's justifications for Teva's price hikes that occurred

in 2014, none of the drugs subject to collusive price increases experienced supply shortages in

the market around that time. Manufacturers were required by federal law to report any potential

drug shortages to the FDA, and no shortage report existed for any of these drugs around the time

of their respective price hikes.

       250.    The magnitude of Teva’s price hikes supports an inference of scienter. During

the Relevant Period, Teva made astronomical increases in the prices of its generic drugs, including

multiple price hikes of more than 800%, and some more than 1700%. Such massive price increases

impacted more than 55 separate drugs, over a four-year period. Given the intense focus on pricing

in the generic drug industry, and the fact that Teva’s senior executives, including the Individual

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Defendants, were asked questions regarding Teva’s pricing and pricing trends during every

earnings conference call and at many industry meetings, it is implausible that the Defendants—the

most senior executives of the Company—were not aware of price increases on this scale in Teva’s

core business unit.

       251.    These massive price increases also contributed billions of dollars to Teva’s bottom

line. Indeed, from 2013 through mid-2017, Defendants’ fraud generated more than $2 billion in

additional revenues. Further, given that the costs of implementing price increases are effectively

zero, these massive increases in revenue flowed directly into Teva’s profits—which increased by

similar amounts. For example, Teva’s profits from Pravastatin, one of Teva’s better selling

generics, amounted to at least $370 million after instituting price increases of up to 437%.

Similarly, Teva increased the price of Propranolol HCL by nearly 300% and obtained nearly $256

million in profits. Teva also gained over $143 million in such profits from increases of up to 306%

in its prices for Baclofen, $110 million from increases of up to 182% in its prices for Fluocinonide;

$138 million from increases of up to 579% in its prices for Methotrexate Sodium; and $102 million

from increases of up to 1111% in its prices for Ciprofloxacin HCL.

       252.    The intense national focus on price increases in the generic drug business from the

beginning of the Relevant Period demonstrates that Defendants must have been aware of what was

going on with respect to pricing at Teva. Even assuming that the Individual Defendants—Teva’s

top executives—were not put on notice by massive and unexplained price spikes in the Company’s

core generics division, the historic rise in generic drug prices immediately before and during the

Relevant Period was well-publicized. Indeed, the large prices increases by Teva and other generic

manufacturers led Congress to commence an industry-wide investigation beginning in 2014. On

October 2, 2014, Defendant Vigodman received a letter from U.S. Senator Bernie Sanders and


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U.S. Representative Elijah Cummings, putting Teva on notice of an investigation and requesting

pricing data and other information regarding the Company’s generics business. In particular,

Congress asked the Defendants to provide it with information regarding massive increases in the

price of Teva’s generic drugs that coincided with similar increases by other generic drug

manufacturers. For example, the letter requested information regarding “the underlying causes of

recent increases in the price of [Teva’s] drugs” that have increased by “as much as 736 percent for

Divalproex Sodium and 573 percent for Pravastatin Sodium from October 2013 to April 2014.

Over that time period, the average market price went up by as much as $735 for Divalproex Sodium

and $426 for Pravastatin Sodium,” depending on the formulation.

       253.    As noted above, Teva refused to appear to testify or to produce documents in

response to the Congressional inquiry. This Congressional investigation, the subsequent DOJ

subpoena to the Company, and the widespread publicity surrounding the price hikes that spawned

these investigations, gave rise to a duty to investigate the existence of price increases at Teva and

a duty to monitor changes in the Company’s generic drug pricing. At a minimum, Teva’s and the

Individual Defendants’ false and misleading statements were recklessly made, in dereliction of

their duty to investigate and monitor changes in the pricing of the Company’s core products.

       254.    The fraud concerns the core of Teva’s operations. Teva’s production of generic

drugs was the Company’s core operation during the Relevant Period. In fact, during the Relevant

Period, Teva was the largest manufacturer of generic drugs in the world, controlling 13% of the

generic drug market by mid-2015. Generic drug sales accounted for a substantial portion of Teva’s

revenues and operations during the Relevant Period. For example, in 2014, Teva’s revenues from

the segment including generics accounted for 42.13% of the Company’s total revenues. In 2015,

the percentage of the Company’s revenues from the segment including generics jumped to roughly


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50%. It is implausible that the Individual Defendants, who were the Company’s senior-most

executives, were unaware of the historically colossal price increases being implemented by the

Company—particularly given the significant positive impact those price increases were having

on Teva’s financial performance. As the Company’s most senior executives, the Individual

Defendants had access to information concerning these price increases. At a minimum, they were

reckless in misleadingly telling investors that the Company’s improved financial outlook was due

to cost-cutting, product mix and other factors without investigating whether changes in prices for

the Company’s products were not a factor in that turnaround.

       255.    Teva’s turn- around narrative relied on massive price increases. By the end of

2013, Teva’s U.S. generics business suddenly began reporting significant growth. For example, in

4Q13, its U.S. generics division reported earnings of $1,178 million, as compared to $1,034 million

the year before—an increase of approximately $144 million, or nearly 14%. This was a striking

turn around. Relative to 2012, Teva’s net revenues for the nine-month period ending September

30, 2013, were down year-over-year.

       256.    By April 7, 2014, National Alliance Securities analysts had taken note of Teva’s

new-found financial success: although its generics division had “dramatically underperformed in

2013” as compared to its peers, only a few months after the end of 2013, Teva’s performance in

generics was, remarkably, “the Best YTD” among its peers.

       257.    By the end of 2014, Defendants’ remarkable “turnaround” story for the Company’s

generics business had propelled the Company’s ADS price from around $37 in late October 2013,

to $56 by the end of 2014.

       258.    Defendants’ financial success continued into 2015, and by the end of July 2015, its

stock price exceeded $70 per share.


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       259.    It is implausible that Vigodman, Desheh, Oberman, and Olafsson, who directly

oversaw, and spoke publicly at length about, the “turnaround” in Teva’s generics business, were

unaware of the true source of the Company’s changed fortunes. The far more compelling inference

is that these executives, whose ascension and arrival coincided with massive price increases, and

whose departures coincided with expanding governmental probes into those same price increases,

were well aware that the price increases were the true driving force behind the Company’s

newfound success.

       260.    Government evidence supports an inference of scienter. As detailed above, the

AG investigation has been ongoing for three and one-half years and has involved the collection of

documentary, electronic, and testimonial evidence from Teva and others. As a result of the

information and evidence developed through this investigation, the Attorneys General of 46

separate U.S. States brought suit against Teva and other generic drug manufacturers, documenting

their “numerous contracts, combinations and conspiracies that had the effect of unreasonably

restraining trade, artificially inflating and maintaining prices and reducing competition in the

generic pharmaceutical industry throughout the United States.” The CT AG stated during a

December 14, 2016 interview with Bloomberg that its investigation has uncovered “very explicit

price fixing” between Teva and others: “This isn’t circumstantial evidence . . . This is very explicit

price fixing . . . in text messages, in emails, in conversations; we have cooperating witnesses. The

case is very strong.” As reported by The New York Times, the CT AG further summarized the

evidence as “very damning.” Nor were these conspiracies limited to lower-level employees.

Rather, the AG investigation uncovered evidence revealing that “many of these schemes were

conceived and directed by executives at the highest levels of many of the Defendant companies.”

       261.    Moreover, the fact that the DOJ has intervened in at least five civil antitrust actions

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against Teva, now consolidated in the Multi-District Litigation in the U.S. District Court for the

Eastern District of Pennsylvania—after subpoenaing and receiving documents from Teva—

strongly suggests that federal prosecutors have also determined that there is evidence of a criminal

conspiracy to fix prices in an anti-competitive manner.

       262.    The significance of the corporate action required to participate in any collusive

behavior—particularly such sustained price increases, with multiple competitors—makes it

implausible that the scheme was carried out solely by low-level employees.

       263.    The Collusive Nature of the Concealed Price Increases Supports Scienter. That

the fraud involves collusion by Teva with other generic drug manufacturers to fix prices in

their industry further supports scienter for several reasons. In each instance of a collusive price

increase, the drug's major manufacturers, including Teva, enacted large price increases at or

around the same time, raising prices to exactly, or nearly exactly, the same level. For some,

Teva was the first to raise prices, and others followed; other times, Teva followed another

manufacturer's lead.

       264.    Price Increases Against Self-Interest. There was no reasonable commercial or

economic justification for the price increases in the drugs at issue. No shortage or sudden

increase in demand explains Teva's price increases, contrary to the Individual Defendants'

explicit statements. Thus, absent a collusive understanding among competitors, a

manufacturer that acted alone to enact significant price increases ran a tremendous risk of

losing all, or most, of its market share if competitors undercut the suddenly-inflated price. As

an empirical fact, each manufacturer was able to substantially increase, and maintain increases

on, the prices for the subject drugs within a short period of time; no competitor sought to seize

increased market share by undercutting the other market participants with even a slightly-


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smaller price increase. Without a deliberate strategy, such price increases would have been

against Teva's self-interest. The fact that Teva was so often willing to expose its market share

to predation by other manufacturers whose prices sat many multiples below Teva's plausibly

suggests that, in reality, there was no risk at all; Teva had reached a collusive understanding

that other market participants would themselves raise prices soon thereafter, and/or that Teva's

"fair share" of the market would remain untouched despite its extraordinary price increase.

       265.   Motive and Opportunity. Companies and individuals involved in generic

drug pricing, sales, and marketing are, as in any other industry, motivated to increase the

profit earned on their products. In the generic drug industry specifically, the natural profit

motive may bend toward a motive to collude, due· to the cold realities of marketing products

that are, despite their scientific sophistication, a commodity. Because federal law requires

generic drugs to be "readily substitutable," price is the only meaningful mechanism by

which generic drug manufacturers may differentiate their products, a circumstance which

over time, and absent collusion, drives prices down to a point just above the

manufacturers' marginal costs of production. Each of the drugs at issue is a long-

established generic in a mature market in which prices had leveled off to a steady

equilibrium. The manufacturers of the Collusive Drugs, therefore, had a common motive

to increase their profits by conspiring to raise prices in tandem, overriding the natural

downward pressure on prices.

       266.   In the context of this motive, each Collusive Drug's market is characterized by

factors that, as a matter of economics, present the opportunity to collude, including:

  •       High Concentration. The market for each Collusive Drug was an oligopoly by a
          handful of manufacturers who collectively controlled substantially all of the
          market.


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  •       High Barriers to Entry. Entering a generic pharmaceutical market requires significant
          lead time for development and regulatory approval. The cost is significant; the
          process of obtaining regulatory approval alone can cost millions. Further, there is
          financial risk that the recoupment of any investment could be delayed or never
          happen. Regulatory approval, known as an "ANDA" approval, could be denied or
          delayed for months or years due to technical failures or other factors. According to
          the GAO and others (including Teva), during the Relevant Period the FDA was
          significantly "backlogged," and thus potential market entrants could have to wait
          years for approval. It has been reported that in 2015 ANDA approvals often took 40
          months or more.

  •       Demand Inelasticity. The Collusive Drugs are all important, and in many cases absolutely
          critical, to the end-consumer's health and well-being. As a general matter, demand for such
          drugs is inelastic, i.e., the quantity demanded does not vary significantly as price changes, as
          the consumer cannot simply walk away as prices rise. Another factor contributing to demand
          inelasticity is that health insurance plans typically will pay for medications regardless of
          price, so long as the drug is on the plan's approved list. Counsel undertook statistical analysis
          of the market for each of the Collusive Drugs. and confirmed inelasticity for each drug and
          empirically observed that volume did not change as the price increased.

  •       Lack of Alternative Products. Doctors choose to prescribe specific drugs to their patients
          for reasons related to the specific pharmacological distinctions among the drugs in a
          particular class and, consequently, they cannot simply substitute one product for another
          when price varies. This is true of the Collusive Drugs. For instance, Pravastatin is one of
          several generic statins, but unique for its relatively low level of binding to blood plasma
          proteins, which may have life-altering implications for certain patients.

  •       Inherent Fungibility of Generic Drugs. Each manufacturer's version of each of the Collusive
          Drugs is, by nature, interchangeable with any other manufacturers. By law, all generic drugs
          must be readily substitutable for another generic of the same brand drug.

       267.     Inter-Firm Communications. The State AGs' CAC describes evidence showing

Teva, through its directors, officers, and employees-including the Individual Defendants- engaged

in extensive direct communication with other manufacturers. For example, the State AGs allege

that over 1,500 communications occurred between certain of Teva's "senior sales executives and

other individuals responsible for the pricing, marketing and sales of generic drugs" and employees

at 15 other manufacturers between July 1, 2013 and July 30, 2014.

       268.    Further, trade shows and conferences provided opportunities for individuals

responsible for Teva’s generic drug prices an opportunity to interact with their counterparts at

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other manufacturers during the Relevant Period, many of which occurred in close proximity

to price increases that Teva and/or other manufacturers implemented on generic drugs. See

Appendix B. In all instances identified in Appendix B, representatives of at least one other

manufacturer – and typically several others – also attended. Trade shows and conferences

provided opportunities for one-on-one meetings with between Teva personnel, including

several of the Individual Defendants, and those of other manufacturers. For example, at both

the 2013 and 2014 annual meetings of the National Association of Chain Drug Stores, Teva

reserved a "strategic exchange" bungalow. NACDS advertised "strategic exchange"

bungalows as "opportunities to meet and discuss strategic issues with key trading partners."

In essence, Teva paid for a secluded area where its personnel could meet privately with others,

including other manufacturers.

       269.    The Individual Defendants were motivated to commit fraud in order to raise

capital for a major acquisition. The Individual Defendants were motivated to inflate the price of

Teva’s securities in order to consummate a major corporate acquisition. Indeed, Vigodman and

Desheh had stated early in the Relevant Period that they wanted to convert ADS into “currency”

to acquire a competitor, further consolidating Teva’s market share.

       270.    By 2015, with the price of Teva’s stock artificially inflated to over $60 per share

by Defendants’ price increase plan, they decided to make their move. In April 2015, Defendants

first tried making an offer for Mylan, but their overtures were swiftly rebuffed. Undeterred, the

Individual Defendants ratcheted up their bidding, and with the ADS price reaching an all-time

high, on July 27, 2015, Defendants announced the purchase of Allergan’s generics division,

Actavis. The deal would cost Teva approximately $40 billion, most of which was funded by

members of the Class through three offerings.


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       271.    To execute the Actavis deal, however, Defendants still needed to undertake a

massive bond offering to raise tens of billions of dollars in additional capital. Without warning,

during a pre-arranged investor call on July 13, 2016, Vigodman announced that the debt offering

would be launched that very day. On the same call, Vigodman also revised Teva’s guidance

upward and confirmed that the Company was not seeing further pricing pressure in its generics

business, thereby continuing to artificially inflate the price of Teva’s securities. Ultimately, the

Company’s July 2016 bond offerings raised over $20 billion from unsuspecting investors. The

Actavis deal closed on August 2, 2016.

       272.    The short period of time between the false statements and the corrective

disclosures supports an inference of scienter. On August 4, 2016, three days after the Notes

Offering, and two days after the Actavis transaction closed, Teva reported second quarter 2016

financial results that reflected a $434 million decline in revenues in its U.S. generics segment

compared to the second quarter of 2015. Teva also disclosed for the first time that it was subject

to DOJ and State AG price-fixing investigations. In fact, on July 12, 2016—the day before Teva

suddenly decided to rush its bond offering to market—Teva had been served with a subpoena by

the Connecticut AG; and three weeks earlier, on June 21, 2016, Teva had been served a subpoena

by the DOJ, indicating that Teva was now a focus of the investigations into illegal price collusion.

The timing of these events, with Defendants rushing an offering to market and increasing the

Company’s guidance immediately after receiving government subpoenas regarding their pricing

policies, strongly supports an inference of scienter.

       273.    On January 6, 2017, less than six months after raising its guidance on the same day

it announced the surprise bond offering, Teva significantly lowered its guidance, admitting that its

generics business was underperforming as a result of the pricing pressures it had claimed immunity


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from. As Vigodman described in the January 6, 2017 conference call, Teva “ha[s] an EBITDA gap

of $1.2 billion emanating from our US generics business.”

       274.    Market reaction to Defendants’ disclosures was swift and furious. Commentators

noted: “The larger point here is this: how is it possible that 2017 EPS guidance was cut by as much

as 18% within the space of six months with largely the same senior management team in place?”

The temporal proximity of Defendants’ disclosures that pricing pressures were impacting Teva’s

generics business, less than six months after they raised guidance and assured investors that there

would be no such effect, further supports an inference of scienter.

       275.    The Individual Defendants’ high-level positions, access to information about the

Company’s generics business, and control of the contents of the Company’s public statements

supports an inference of scienter. As the Company’s top executives, Vigodman, Desheh,

Oberman, and Olafsson—the Presidents, CEOs, CFOs, President and CEO of Teva Americas

Generics, and President and CEO of Teva’s Global Generics Medicines Group (the divisions where

the heart of the misconduct alleged herein took place), respectively—controlled the Company’s

day-to-day operations and were informed of and responsible for monitoring Teva’s generics

business. The Individual Defendants had access to various sources of information concerning

Teva’s U.S. generics business, including pricing. These sources gave Defendants access to

information that was adverse to their public statements during the Relevant Period. Because of

their high-level positions, each Individual Defendant was provided with, or had access to, copies

of the documents alleged herein to be false or misleading prior to, or shortly after, their issuance,

and had the ability and opportunity to prevent their issuance or cause them to be corrected. Because

of their positions and access to material non-public information concerning the Company, the

Individual Defendants knew or recklessly disregarded that the adverse facts alleged herein had not

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been disclosed to, and were being concealed from, the public, and that the positive representations

that were being made to investors were materially false, misleading, and incomplete. As a result,

the Individual Defendants were responsible for the accuracy of Teva’s corporate statements, and

each is therefore responsible and liable for the representations contained therein or omitted

therefrom.

       276.    Defendant Vigodman served as Teva’s President and CEO from February 11, 2014

to February 6, 2017 and as a Teva Director from June 22, 2009 to February 6, 2017. Vigodman

signed and certified certain of Teva’s reports on Forms 20-F (including the 2014 and 2015 Form

20-F SOX Certifications) and 6-K, including consolidated balance sheets, filed with the SEC

during the Relevant Period, as set forth herein. Vigodman had a duty to monitor any conduct that

threatened to undermine the veracity of these filings, including the conduct alleged herein.

Vigodman had access to pricing data for the Company’s generic drugs. Notwithstanding the

certifications signed by Vigodman and his access to pricing data, Vigodman knowingly or

recklessly failed to disclose the overwhelming significance of the price increase plan to the

financial resurgence of Teva.

       277.    Vigodman also, in response to a direct question on pricing practices during an

October 29, 2015 investor conference, falsely assured investors that: “We are very responsible .

. . in everything that pertains to prices on the generic side and on the specialty side.” He continued:

“And I will even put it another way, all the improvements you see in margins is not driven by price.

It is driven by quantities, and by mix, and by efficiency measures, not by price, 2014, 2015. And

that’s a very important message.”

       278.    Defendant Desheh served as Teva’s CFO from July 2008 to June 30, 2017, except

from October 30, 2013 to February 11, 2014, when he served as Teva’s Interim CEO and Interim

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President. Desheh also served as Teva’s Group EVP from 2012 to June 30, 2017. Desheh signed

and certified certain of Teva’s reports on Forms 20-F (including the 2013, 2014, 2015, and 2016

Form 20-F SOX Certifications) and 6-K filed with the SEC during the Relevant Period, including

consolidated balance sheets, as set forth herein. Desheh had a duty to monitor any conduct that

threatened to undermine the veracity of these filings, including the conduct alleged herein. Desheh

had access to pricing data for the Company’s generic drugs. Notwithstanding the certifications

signed by Desheh and his access to pricing data, Desheh knowingly or recklessly failed to disclose

the overwhelming significance of the price increase plan to the financial resurgence of Teva.

       279.    During the Relevant Period, Desheh made additional false and misleading

statements regarding the Company’s pricing. For example, during a November 2015 investor

conference, Desheh addressed pricing head on: “There is a lot of noise around pricing issues. Some

of it is coming from politicians [who are] driving agenda[s]. . . . Our exposure to all these things

is very minimal. . . . I believe there are many examples for competitive environment, real

competition, like we see in generic market in the United States. . . . So it’s a highly competitive

environment with players coming from all over the world with a very fierce price competition.”

Even in the face of this direct question, Desheh never disclosed the price increase plan.

       280.    Defendant Oberman served as President and CEO of Teva Americas Generics from

November 5, 2012 to December 31, 2014. In that role, Oberman had access to pricing data for the

Company’s generic drugs. Oberman also possessed the power and authority to control the

contents of the Company’s reports to the SEC concerning Teva’s U.S. generics business and was

provided with copies of the Company’s reports and press releases alleged herein to be misleading

before, or shortly after, their issuance and had the ability and opportunity to prevent their issuance

or cause them to be corrected. Oberman also would have received reports showing the amount of

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profit earned from price increases on Teva’s generic drugs.

       281.    Defendant Olafsson served as President and CEO of Teva’s Global Generics

Medicines Group from July 1, 2014 to December 5, 2016. In that role, Olafsson had access to

pricing data for the Company’s generic drugs. Olafsson also possessed the power and authority to

control the contents of the Company’s reports to the SEC concerning Teva’s U.S. generics business

and was provided with copies of the Company’s reports and press releases alleged herein to be

misleading before, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Olafsson also would have received reports showing

the amount of profit earned from price increases on Teva’s generic drugs.

       282.    Olafsson assured investors during the Relevant Period that Teva’s strong

performance in its generics business was not the result of pricing changes: “This is $1 billion

improvement in operating profit over 24 months period. So how did we do this? Not by pricing

but by portfolio mix, new products, and efficiency measures.” In response to an analyst request

regarding the source of price increases, Olafsson falsely responded as follows: “So first of all, it

doesn’t work like we wake up when we are one Company, and we can take price increases. Simply,

it doesn’t work like that in generics. When price increases are taken, there’s some kind of

abnormality in the business. There are shortages. . . . So there’s always somebody happy to take a

little bit lower price. So it’s a very competitive business we’re in.” Even in the face of this direct

question, Olafsson never disclosed the price increase plan.

       283.    The Individual Defendants were motivated to commit fraud for their own

personal gain. Teva aims to incentivize its executive officers by creating a strong link between

their compensation and performance. Therefore, a significant portion of the total compensation

package provided to Teva’s executive officers is based on measures that reflect both Teva’s short

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and long-term goals and performance, as well as the executive officer’s individual performance

and impact on shareholder value. For example, the Individual Defendants received cash bonuses

of as much as 158% of their annual salaries based on performance metrics directly impacted by

the price increase plan. As described by the Company’s Compensation Policy for Executive

Officers and Directors (the “Compensation Policy”), “A significant component of the

Compensation Policy was the Company’s annual cash bonus program.” Teva described the

bonuses as “strictly pay-for-performance . . . [p]ayout eligibility and levels of annual cash bonuses

are determined based on actual financial and operational results, as well as individual

performance.” Teva also made substantial equity grants to Defendants Vigodman, Desheh,

Oberman, Olafsson, and likely other senior officers, including options to purchase shares, awards

of restricted shares, and awards of Performance Share Units (“PSUs”), the value of which were

likewise tied to Teva’s performance.

       284.    As a result of the number and magnitude of Teva’s price hikes, the prices of Teva’s

securities soared. The price of Teva’s ADS rose from just below $45 to a Relevant Period high of

$72 in mid-2015. The Individual Defendants made millions in personal compensation from this

supposed achievement. For example, in 2014, Teva reported paying Oberman nearly $6.5 million

in cash and nearly $1 million in equity compensation. (He stepped down that year). For the year

2015, Teva reported paying Desheh more than $1.8 million in cash and $1.7 million in equity

compensation. (His compensation was not disclosed for 2014 or 2016). For the years 2015 and

2016, Teva reported paying Olafsson more than $4.8 million in cash and more than $3.5 million

in equity compensation. (His compensation was not disclosed for 2014). For the years 2014 to

2016, Teva reported paying Vigodman more than $8.4 million in cash and more than $5 million in

equity compensation.

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       285.    In 2014, Vigodman, Desheh, Oberman, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial targets,

which were impacted by the revenues generated from the price increase plan.

       286.    According to the 2014 20-F, more than 70% of Vigodman’s cash bonus was tied to

such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non- GAAP

net revenue, and 14.2% for cash flow). He was entitled to a bonus of 140% of salary for achieving

100% of the targets, and a maximum of 200% of salary if 125% of the targets were met. His total

reported compensation was nearly $4.5 million, comprised of: (i) a salary of $1,183,888, a

bonus of $1,868,477 (roughly 158% of salary); (ii) a one-time bonus of $237,401 for “significant

achievements and efforts” including Teva “strengthen[ing] its leading position in generics”; (iii)

options to purchase 280,702 shares at $41.05; (iv) a grant of 15,660 restricted shares; and (v) a

grant of 30,869 PSUs based on targets of cumulative non-GAAP operating profit and cumulative

non-GAAP net revenue from 2014 to 2016.

       287.    According to the 2014 20-F, at least 50% of Oberman’s cash bonus also was tied to

such financial targets (specifically, 25% for non-GAAP operating profit, 15% for non-GAAP net

revenue, and 10% for cash flow). An additional 20% of his bonus was based on Teva’s generics

business. He was entitled to a bonus of 100% of salary for achieving 100% of the targets, and a

maximum of 200% of salary if 120% of the targets were met. Oberman’s total reported

compensation of $7,337,661 made him the highest-paid Teva executive for 2014, after being

functionally replaced in July. Oberman received a salary of $850,000, a cash bonus of $1,194,435

(approximately 140% of salary), and a cash severance of $4,464,171 based primarily on the

amounts of his salary and average bonuses for 2012 to 2014.

       288.    Because Olafsson and Desheh were not among Teva’s five highest paid executives

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in 2014, their salaries and cash bonuses were not disclosed (Olafsson joined Teva in July 2014).

Olafsson’s other compensation included options to purchase 88,238 shares at $54.02 per share, a

grant of 18,229 PSUs, and an additional grant of 17,773 PSUs based on Teva’s 2014 performance.

Desheh’s other compensation included options to purchase 98,581 shares at $48.76 per share and

a grant of 20,066 PSUs.

       289.    In 2015, Vigodman, Desheh, and Olafsson received cash bonuses and equity

compensation based, in significant part, on Teva’s achievement of certain financial targets, which

were impacted by the revenue generated from the price increase plan.

       290.    According to the 2015 20-F, more than 70% of Vigodman’s cash bonus was tied to

such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non- GAAP

net revenue, and 14.2% for free cash flow). He was entitled to a bonus of up to 200% of salary if

125% of the targets were met. Vigodman’s total reported compensation was approximately $5.7

million, comprised of a salary of $1,363,692, a bonus of $2,253,581 (roughly 165% of salary),

options to purchase 163,859 shares at $57.35 per share, and a grant of 30,869 PSUs based on

Teva’s 2014 to 2015 cumulative performance.

       291.    According to the 2015 20-F, Desheh and Olafsson also were entitled to bonuses

based on such financial targets (specifically, 25% for non-GAAP operating profit, 15% for net

revenue, and 10% for free cash flow), in amounts of up to 200% of salary if 120% of the targets

were met. Desheh’s total reported compensation was approximately $4.3 million, comprised of a

salary of $733,863, a bonus of $1,110,824 (roughly 151% of salary), options to purchase 89,376

shares at a price of $57.35, and a grant of 16,838 PSUs.

       292.    Olafsson’s total reported compensation was approximately $3.9 million; he

received a salary of $954,955 and a bonus of $1,449,375 (roughly 151% of salary). He also was

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awarded options to purchase 94,343 shares at $57.35 per share, and an additional 160,114 shares

at $59.19 per share “[i]n light of the increase in . . . scope of work and responsibilities as head of

Global Generics Medicines Group in connection with the Actavis acquisition,” as well as a grant

of 17,773 PSUs based on Teva’s 2014 to 2015 cumulative performance.

       293.    Teva’s ADS price reached a high of $72 on July 27, 2015, making the potential

value of the Individual Defendants’ 2014 and 2015 options quite significant at the height of the

alleged fraudulent scheme. However, because Teva was a “foreign private issuer” during the

Relevant Period, it was not required to report insider sales and, therefore, it is unknown whether

these Individual Defendants, or any other insider, engaged in suspicious trading activity. Evidence

of insider trading, if any, could be obtained in discovery.

       294.    The abrupt departure of executives supports an inference of scienter. In late

2016, as the price increase plan was in tatters as a result of the inevitable increase in generic

competition resulting from FDA generic drug approvals and basic market forces, and the GAO

Report, criminal charges, guilty pleas, and State AGs’ allegations mounted, the key executives

responsible for Teva’s U.S. generics business departed or were fired in relatively short order. First,

on December 5, 2016, Teva unexpectedly announced the “retirement” of Olafsson, the 48- year-

old head of generics (Olafsson did not, in fact “retire” but instead found employment elsewhere in

the industry). As reported by The Street, Olafsson’s departure “rais[ed] more questions for

investors amid continued worries around drug pricing.”

       295.    Just two months later, on February 6, 2017, as Teva’s finances continued to sag and

the governmental investigations continued to gather steam, Teva unexpectedly announced the

termination of Defendant Vigodman, effective immediately and without announcing a permanent

replacement. Then, on April 25, 2017, numerous media reports surfaced that Defendant Desheh

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would be pushed out as CFO at Teva. These reports were confirmed the next day when, in an April

26, 2017 6-K, Teva announced that Defendant Desheh would be stepping down as CFO and

leaving the company in “the coming months” so that Desheh could move on to “the next phase of

[his] career.” In its first financial report issued after these architects of the fraud were removed,

Teva announced a $6.1 billion write down of its entire U.S. generics business.

       296.    Corporate Scienter. Teva possessed scienter by virtue of the fact that the Individual

Defendants, who acted with scienter as set forth above, had binding authority over the Company.

In addition, certain allegations herein establish Teva’s corporate scienter based on (a) the state of

mind of employees who approved the statements alleged herein despite knowing the statements’

false and misleading nature.

       297.    It can be inferred that senior corporate executives at Teva possessed scienter

such that their intent can be imputed to the Company. Given the nature of the Price-Hike

strategy, which required the involvement of numerous divisions within Teva to implement

and had a material impact on Teva’s financial statements, additional unknown executives

sufficiently senior to impute their scienter to Teva were also aware of the Price-Hike Strategy.

       298.    As yet unidentified employees also approved the false statements despite

knowing significant positive impact those price increases were having on Teva’s financial

performance. As the Company’s most senior executives, the Individual Defendants had

access to information concerning these price increases. At a minimum, they were reckless in

misleadingly telling investors that the Company’s improved financial outlook was due to cost-

cutting, product mix and other factors without investigating whether changes in prices for the

Company’s products were not a factor in that turnaround.




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VII.   THE TRUTH EMERGES: ALLEGATIONS OF LOSS CAUSATION

       299.    Defendants’ false statements and material omissions concealed the truth about, and

risks presented by, their business practice of improving business results through massive price

increases. The truth and risks that were concealed and/or affirmatively misstated include the fact

that the price increase plan was not sustainable over the long-term because of the FDA’s approval

of new drugs, natural competitive pressures, public approbation and governmental investigations

and that once the plan became non-viable, Teva’s revenues and profits would fall, negatively

impacting its stock price. These risks became apparent to the investing public through a number

of revelations that negatively impacted prices for Teva’s securities.

       A.      August 4-5, 2016

       300.    After the close of trading on August 4, 2016—two days after the Actavis transaction

closed—Teva filed the 2Q16 Form 6-K, reporting its second quarter 2016 financial results,

including a $434 million decline in revenue in the U.S. generics segment compared to the second

quarter of 2015. The 2Q16 Form 6-K revealed for the first time that Teva was implicated in the

federal and State AGs’ antitrust investigations, stating: (i) “[o]n June 21, 201[6], Teva USA

received a subpoena from the Antitrust Division of the United States Department of Justice seeking

documents and other information relating to the marketing and pricing of certain of Teva USA’s

generic products and communications with competitors about such products” and (ii) “[o]n July

12, 2016, Teva USA received a subpoena from the Connecticut [AG] seeking documents and other

information relating to potential state antitrust law violations.”

       301.    While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations and omissions, Defendants misleadingly attributed Teva’s

disappointing results to the loss of exclusivity on certain drugs, and a decline in sales in others,

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expressly denied the impact of price hikes, and reaffirmed Teva’s inflated outlook for 2016.

       302.    In response to this information, the price of Teva’s ADS declined $1.24 per share,

or approximately 2.24%, from its closing price of $55.45 on August 4, 2016, to a close of $54.21

on August 5, 2016, on high trading volume, wiping out $1.13 billion in market capitalization.

       B.      November 3 and November 6, 2016

       303.    On Thursday, November 3, 2016, before the U.S. markets closed, and after the close

of trading on the TASE, Bloomberg reported on the government’s “sweeping criminal

investigation into suspected price collusion,” spanning more than a dozen companies, including

Teva, and about two dozen drugs, and that charges could emerge by year-end.

       304.    On this news, the price of Teva ADS fell $4.13 per share, or approximately 9.53%,

from its closing price of $43.33 on November 2, 2016 to close at $39.20 on November 3, 2016, on

high trading volume, reducing Teva’s market capitalization by another $3.77 billion.

       305.    Analysts from S&P Capital IQ lowered their rating of Teva ADS in response, from

“buy” to “hold,” and Fierce Pharma reported that analysts believed the investigation could have a

sizeable financial impact on Teva, estimated to be as much as $700 million. The New York Times

similarly reported that: “The generic drug industry was jolted on Thursday as shares of many major

companies tumbled after a news report said that a federal inquiry into drug price- fixing was wider

than previously believed and could lead to charges by the end of the year. Shares in Teva

Pharmaceuticals, the world’s largest generic drug maker, fell more than 9 percent, and the stock

of competitors like Mylan, Endo Pharmaceuticals and Impax Laboratories had similar declines.”

(Katie Thomas, News of Charges in Price-Fixing Inquiry Sends Pharmaceuticals Tumbling, N.Y.

Times (Nov. 3, 2016), at B5).




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       C.      November 15, 2016

U.S. On November 15, 2016, before the U.S. markets opened (and during trading on the TASE),

Teva filed a press release on Form 6-K with the SEC, reporting third quarter 2016 revenues below

consensus expectations. During an investor conference call that day, Olafsson explained that the

disappointing results were a result of pricing pressures, stating that, despite his past denials that

Teva was exposed to or had observed pricing pressure, price erosion in Teva’s generics business

in fact had been approximately 7% (as compared to the 5% Olafsson had recently stated on

September 9, 2016).

       306.    While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations and omissions, Defendants insisted that the pricing pressure was

limited and would not last beyond the quarter, continued to attribute the Company’s disappointing

results to divestiture of certain generic products related to the Actavis acquisition, and continued

to conceal Teva’s anticompetitive conduct and collusion, improper financial reporting and

disclosures, and Teva’s true financial and business condition. Moreover, Defendant Vigodman

stated that, “we are not aware of any fact that would give rise to an exposure to Teva with respect

to the [DOJ] investigation.”

       307.    The prices of Teva ADS fell again in response to this news, declining $3.43 per

share, or 8.36%, from its closing price of $41.03 per share on November 14, 2016 to close at

$37.60 on November 15, 2016, on high trading volume, erasing another $3.3 billion in market

capitalization. Teva’s ordinary share price similarly declined ILS7.20, or 4.58%, from its closing

price of ILS157.10 on November 14, 2016 to close at ILS149.90 on November 15, 2016.

       308.    Market participants similarly responded, with analysts at Jefferies downgrading

Teva ADS from “buy” to “hold.”

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       D.      December 5-6, 2016

       309.    After the markets closed on December 5, 2016, Teva filed a Form 6-K, announcing

Olafsson’s immediate “retirement,” even though he was only in his late 40’s. Analysts at Piper

Jaffray quickly concluded that Olafsson had in fact been pushed out, stating in a December 6, 2016

report: “When a company issues what many view as bullish guidance and then walks that back

within a quarter of issuing said guidance . . . it would only be natural to conclude that there would

be repercussions at the top of the organization.”

       310.    Other analysts tied Olafsson’s abrupt departure to the apparent rise in generic

pricing pressure. For example, analyst Morningstar commented in a December 6, 2016 report, that

“Teva’s announcement that Dipankar Bhattacharjee will replace Siggi Olafsson as CEO of the

generics segment does not inspire confidence. Recent pricing pressure in the generic drug market

and anticipated generic competition on the 40mg version of Copaxone in 2017 remain significant

near-term challenges for Teva, which makes the abrupt leadership change a concerning

development at a critical time for the company.” BTIG similarly stated, in a report dated December

5, 2016, that “[w]ithout Siggi Olafsson at the helm of Teva’s global generic segment, we think

investor sentiment could worsen as the market has remained focused on price erosion for the

[company’s] base generics business.” Citi (at the Citi Global Healthcare Conference) and Piper

Jaffray (in a December 6, 2016 report) expressed concern that Olafsson’s departure suggested that

there may be something “going on internally in the generics business” that had not been disclosed.

       311.    In response to this news the price of Teva ADS fell $2.01 per share, or 5.43%, the

next trading day, from its closing price of $37.04 per share on December 5, 2016, to close at

$35.03 per share on December 6, 2016, on high trading volume, and reducing Teva’s market

capitalization by $1.96 billion.

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       E.        December 14, 2016

       312.      As had been previewed on November 3, 2016, on December 14, 2016, the DOJ

announced the anticipated criminal investigation and disclosed that it had charged Glazer and

Malek, the former CEO and President of Heritage, respectively, for their roles in conspiracies to

fix prices, rig bids, and allocate customers for certain generic drugs, namely Doxycycline (as early

as April 2013 until at least December 2015) and Glyburide (as early as April 2014 until at least

December 2015), the latter for which Teva was a dominant market participant during the Relevant

Period. The DOJ further stated that the charges stemmed from its ongoing federal antitrust

investigation into price-fixing, bid-rigging and other anticompetitive conduct relating to generic

drugs and marked “an important step” in ensuring true competition among companies “at a price

set by the market, not by collusion.” Two-count felony charges for violations of Section 1 of the

Sherman Act against Glazer and Malek also were unsealed that day, alleging the following in sum

and substance:

       • various corporations and individuals participated as co-conspirators in the offenses and
         performed acts and made statements in furtherance thereof;
       • the defendants and co-conspirators knowingly entered into and engaged in a
         combination and conspiracy with other persons and entities engaged in the production
         and sale of generic drugs, including Doxycycline and Glyburide, the primary purpose
         of which was to allocate customers, rig bids, and fix and maintain prices of those drugs
         sold in the United States; and

       • for the purpose of forming and carrying out the charged combination and conspiracy,
         the defendants and co-conspirators, among other things, participated in meetings and
         communications to discuss the sale of and to allocate customers or rig bids for the drugs;
         agreed not to compete against each other for certain customers; submitted bids, withheld
         bids, and issued proposals in accordance with their agreements; and sold the drugs at
         collusive and noncompetitive prices.

       313.      In response to this news, the price of Teva ADS price fell $0.66 per share, or

approximately 1.75%, from its closing price of $37.66 on December 13, 2016 to close at $37.00

per share on December 14, 2016, erasing $711.7 million in market capitalization.
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       F.      December 15-18, 2016

       314.    On December 15, 2016 (after the TASE closed), the CT AG announced that he and

19 other State AGs had filed a federal antitrust lawsuit against Teva USA and five other drug

companies (Heritage, Aurobindo, Citron, Mayne, and Mylan), alleging that they had “entered into

illegal conspiracies . . . to unreasonably restrain trade, artificially inflate and manipulate prices,

and reduce competition” for Doxycycline and Glyburide.

       315.    The December 15, 2016 press release stated that portions of the complaint were

redacted “to avoid compromising the ongoing investigation[]” as to “a number of additional

generic drugs,” but revealed that:

       In July 2014, the state of Connecticut initiated [a non-public] investigation of the
       reasons behind suspicious price increases of certain generic pharmaceuticals. The
       investigation, which is still ongoing as to a number of additional generic drugs,
       uncovered evidence of a well-coordinated and long-running conspiracy to fix prices
       and allocate markets for doxycycline hyclate delayed release and glyburide. In
       today’s lawsuit, the states allege that the misconduct was conceived and carried out
       by senior drug company executives and their subordinate marketing and sales
       executives.
       The complaint further alleges that the defendants routinely coordinated their
       schemes through direct interaction with their competitors at industry trade shows,
       customer conferences and other events, as well as through direct email, phone and
       text message communications. The anticompetitive conduct – including efforts to
       fix and maintain prices, allocate markets and otherwise thwart competition – caused
       significant, harmful and continuing effects in the country’s healthcare system, the
       states allege.

       The states further allege that the drug companies knew that their conduct was illegal
       and made efforts to avoid communicating with each other in writing or, in some
       instances, to delete written communications after becoming aware of the
       investigation. The states allege that the companies’ conduct violated the federal
       Sherman Act and are asking the court to enjoin the companies from engaging in
       illegal, anticompetitive behavior and for equitable relief, including substantial
       financial relief, to address the violations of law and restore competition.

       316.    As Forbes reported that day, the complaint revealed new information regarding

Teva’s potential exposure relating to two generic drugs, in that it “makes clear which companies

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could be implicated in the antitrust investigation federal prosecutors are pursuing,” including Teva.

It further noted that, according to the state AGs, Malek had a direct relationship with a Teva

employee and the two agreed to raise the prices of Glyburide.

       317.    On this news, the price of Teva ADS fell $0.27, or 0.73%, from its closing price of

$37.00 on December 14, 2016 to close at $36.73 on December 15, 2016, reducing Teva’s market

capitalization by another $291 million.

       G.      January 6-8, 2017

       318.    Before the NYSE opened (and when the TASE was closed) on January 6, 2017,

Teva filed a press release on Form 6-K, announcing a significant reduction in 2017 guidance, far

below market expectations, due to previously-unannounced poor performance and increased

competitive pricing pressures in the market. The press release quoted Defendant Vigodman, who

stated, “[t]he entire healthcare sector has faced significant headwinds, and we have not been

immune.” As explained by Morningstar in a January 6, 2017 report, “Teva’s management lowered

its 2017 outlook from its previous forecast released in July [2016, at the time of the Notes

Offering] as the firm succumbs to increased competitive pressure, especially in the U.S. generics

market.”

       319.    While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations, during a conference call that day Vigodman falsely attributed

Teva’s poor results “to not being able to realize new launches in our Teva legacy business . . .

consistent with our past track-record,” rather than pricing pressure as the collusion dissolved.

       320.    As TheStreet reported, Teva’s ADS price “plummeted” in response to the lowered

2017 guidance. Specifically, the price of Teva ADS fell $2.86 per share, or approximately 7.53%,

from its closing price of $37.96 on January 5, 2017 to close at $35.10 on January 6, 2017, on high

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trading volume, erasing nearly $3.1 billion in market capitalization.

       H.      February 6-7, 2017

       321.    On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed

with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and his removal from the Board of Directors.

       322.    While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations, additional information continued to be concealed by the

Company.

       323.    On this news, between the close of trading on February 6 and on February 7, 2017,

the ADS price fell $2.16 or 6.29% to close at $32.19; and the Preferred Share price fell

$29.00 or 4.57% to close at $605.00.

       I.      August 3-7, 2017

       324.    Before the NYSE opening (and during trading on the TASE) on Thursday, August

3, 2017, Teva filed a press release on Form 6-K, announcing lower-than-expected second quarter

2017 results due to poor performance in its U.S. generics business and “accelerated price erosion

and decreased volume mainly due to customer consolidation, greater competition as a result of an

increase in generic drug approvals by the U.S. FDA, and some new product launches that were

either delayed or subject to more competition.”

       325.    Teva also disclosed a net earnings loss primarily due to a $6.1 billion goodwill

impairment charge in its U.S. generics unit—which consisted of both Teva legacy and Actavis

generics business—revealing the true value of the combined U.S. generic business.

       326.    These disclosures revealed that Teva was facing significant and permanent generic

pricing pressure—which pressures Defendants had, until then, vehemently denied and the price of

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Teva securities declined significantly in response. As Bloomberg reported: “Pharma Giant Teva’s

Stock Is Imploding As Generic Drugs Get Cheaper.” Moody’s also downgraded Teva’s debt rating

to Baa3 (one step above junk), with a negative outlook, citing “weakness in its US generics

business” among other things. Specifically, Teva ADS prices fell $7.50, or 24.00%, from its

closing price of $31.25 on August 2, 2017 to close at $23.75 per share on August 3, 2017, on high

trading volume—wiping out $8.08 billion in market capitalization. Teva’s ordinary share price

also declined ILS19.80, or 17.79%, from its closing price of ILS111.30 on August 2, 2017 to a

close of ILS91.50 on August 3, 2017.

       327.       On Friday, August 4, 2017, Fitch Ratings downgraded Teva to BBB- (one step

above junk), with a negative outlook. Teva’s ADS price continued to fall, an additional $3.15, or

13.26%, from its closing price of $23.75 on August 3, 2017 to close at $20.60 on August 4, 2017,

on high trading volume—removing another $3.2 billion in market capitalization.

       328.       The next trading day, Monday, August 7, 2017, Morgan Stanley downgraded

Teva’s ADS to “Underweight,” noting that it had “underappreciated the risk of generics pricing

pressure to Teva’s earnings and dividend, and we expect Teva to continue to underperform given

overhangs.”

       329.       The prices of Teva Securities continued to drop, with Teva’s ADS prices declining

an additional $2.01, or 9.76%, from its closing price of $20.60 on August 4, 2017 to close at $18.59

on August 7, 2017, on high trading volume, wiping out another $2.0 billion in market

capitalization.

       330.       In total, over these three trading days, Teva’s ADS price fell $12.66, or 40.51%.

       331.       Plaintiff suffered actual economic loss and were damaged by Defendants’

misrepresentations and omissions when the truth concealed by such misrepresentations and

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omissions was revealed through the disclosures on August 4-5, 2016, November 3-6, 2016,

November 15, 2016, December 5-6, 2016, December 14, 2016, December 15-18, 2016, January 6-

8, 2016, and August 3-7, 2017. Each disclosure served to remove some of the artificial inflation in

the price of Teva securities.

       332.    The negative events and disclosures on these dates were directly related to

Defendants’ fraudulent scheme. Defendants’ material misstatements and omissions concealed

from the market, among other things, the fact that the Company’s financial condition had been the

result of its price increase plan, rather than the factors cited by Defendants. Defendants falsely and

misleadingly reported more than $1 billion in revenues generated from undisclosed price increases

in the Company’s core U.S. generic drug business, revenues which were unsustainable.

       333.    None of these events or disclosures was sufficient, on its own, to fully remove the

inflation from the prices of Teva securities because each only partially revealed the scope and

consequence of Defendants’ fraudulent scheme. The corrective effect of each new piece of

information was tempered also by Defendants’ continuing efforts to conceal the true risks and

conditions arising from Teva’s involvement in the undisclosed price increase plan, which

prevented the price of Teva securities from declining to their true value. As a result, the price of

Teva securities remained artificially inflated until the end of the Relevant Period. As Plaintiff

continued to hold Teva securities, and/or purchased or acquired those securities, the artificial

inflation caused them further injury when additional information was revealed.

       334.    Defendants’ conduct, as alleged herein, directly and proximately caused the

damages suffered by Plaintiff. As a result of Defendants’ wrongful conduct slowly being revealed

on the above dates, the price of Teva ADS, which had steadily increased from the start of the

Relevant Period to an all-time high of $72 in July 2015, had fallen to less than $20, reducing market

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capitalization by nearly $42 billion as the truth leaked out. The Company experienced dislocation

and uncertainty due to the abrupt departures of three top executives and ongoing disruption and

fallout from numerous criminal and civil investigations and litigations. Its credit ratings were

downgraded to one level above “junk.” In addition, Teva cut its profit forecast for 2017, cut its

dividend, and warned investors that it risks breaching debt covenants.

        335.    It was entirely foreseeable that concealing the Company’s concealment of its price

increase plan, which was unsustainable over more than a short period, would, among other things,

inflate the revenues from its generics business and artificially inflate the price of its securities. It

was also foreseeable that the disclosure of this information, and the materialization of concealed

risks associated with Teva’s misconduct, would cause the price of Teva’s securities to decline as

the inflation caused by Teva’s earlier misrepresentations and omissions was removed from the

price of Teva’s securities. Accordingly, Defendants’ conduct, as alleged herein, proximately

caused foreseeable losses for Plaintiff, who purchased Teva securities during the Relevant Period.

VIII. PLAINTIFF IS ENTITLED TO A PRESUMPTION OF RELIANCE

        336.    At all relevant times, the market for Teva ADS was open and efficient for the

following reasons, among others: (i) Teva ADS met the requirements for listing, and were listed

and actively traded on the NYSE under the ticker symbol “TEVA”; (ii) as a registered and

regulated issuer of securities, Teva filed periodic public reports with the SEC, in addition to the

Company’s frequent voluntary dissemination of information; (iii) Teva regularly communicated

with investors via established market communication mechanisms, including through regular

disseminations of press releases on the national circuits of major newswire services and through

other wide-ranging public disclosures, such as communications with the financial press, securities

analysts, and other similar reporting services; (iv) Teva was followed by numerous securities

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analysts employed by major brokerage firms, including Citigroup, Goldman Sachs, Needham &

Company, UBS, Barclays Capital, Bank of America Merrill Lynch, BMO Capital, Susquehanna

Financial Group, J.P. Morgan, and Wells Fargo, who wrote reports that were distributed to the

sales force and certain customers of their respective brokerage firms and that were publicly

available and entered the public marketplace; (v) the material misrepresentations and omissions

alleged herein would induce a reasonable investor to misjudge the value of Teva’s ADS; and (vi)

without knowledge of the misrepresented or omitted facts, Plaintiff purchased or otherwise

acquired Teva ADS between the time that Defendants made the material misrepresentations and

omissions and the time that the truth was revealed, during which period the price of Teva’s ADS

was artificially inflated by Defendants’ misrepresentations and omissions.

       337.    As a result of the foregoing, the market for Teva ADS promptly digested current

information regarding Teva from all publicly available sources and the prices of Teva’s ADS

reflected such information. Based upon the materially false or misleading statements and omissions

of material fact alleged herein, Teva ADS traded at prices in excess of the true value of such shares

during the Relevant Period. Plaintiff purchased or otherwise acquired Teva ADS relying upon the

integrity of the market price and other market information relating to Teva.

       338.    Under these circumstances, Plaintiff, as purchaser or acquirer of Teva ADS at

artificially inflated prices during the Relevant Period, suffered similar injuries and a presumption

of reliance under the fraud-on-the-market doctrine applies.

       339.    Further, at all relevant times, Plaintiff relied upon Defendants to disclose material

information as required by law and in the Company’s SEC filings. Plaintiff would not have

purchased or otherwise acquired Teva ADS at artificially inflated prices if Defendants had

disclosed all material information as required. Thus, to the extent that Defendants concealed or

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improperly failed to disclose material facts with regard to the Company and its business, Plaintiff

is entitled to a presumption of reliance.

IX.    THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
       ARE INAPPLICABLE

       340.    The Private Securities Litigation Reform Act’s statutory safe harbor and/or the

“bespeaks caution doctrine” applicable to forward-looking statements under certain circumstances

do not apply to any of the materially false or misleading statements alleged herein.

       341.    None of the statements complained of herein were forward-looking statements.

Rather, each was a historical statement or a statement of purportedly current facts and conditions

at the time each statement was made.

       342.    To the extent that any of the materially false or misleading statements alleged

herein, or any portions thereof, can be construed as forward-looking, such statements were not

accompanied by meaningful cautionary language identifying important facts that could cause

actual results to differ materially from those in the statements. As set forth above in detail, given

the then-existing facts contradicting Defendants’ statements, any generalized risk disclosures made

by Defendants were not sufficient to insulate Defendants from liability for their materially false or

misleading statements or omissions.

       343.    To the extent that the statutory safe harbor may apply to any materially false or

misleading statement alleged herein, or a portion thereof, Defendants are liable for any such false

or misleading forward-looking statement because at the time such statement was made, the speaker

knew the statement was false or misleading, or the statement was authorized and approved by an

executive officer of Teva who knew that the forward-looking statement was false or misleading.




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X.      CAUSES OF ACTION

                                              COUNT I
                          For Violations of Section 10(b) of the Exchange Act
                             and Rule 10b-5 Promulgated Thereunder
                             Against Teva and the Individual Defendants

        344.    Plaintiff repeats and re-alleges each and every allegation set forth above as if fully

set forth herein.

        345.    This Count is asserted pursuant to Section 10(b) of the Exchange Act, and Rule

10b- 5 promulgated thereunder, against Teva and the Individual Defendants.

        346.    As alleged herein, throughout the Relevant Period, Teva and the Individual

Defendants, individually and in concert, directly and indirectly, by the use of the means or

instrumentalities of interstate commerce, the mails and/or the facilities of national securities

exchanges, made materially untrue statements of material fact and/or omitted to state material facts

necessary to make their statements not misleading and carried out a plan, scheme, and course of

conduct, in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

thereunder. Teva and the Individual Defendants intended to and did, as alleged herein, (i) deceive

the investing public, including Plaintiff; (ii) artificially inflate and maintain the prices of Teva’s

ADS; and (iii) caused Plaintiff to purchase the Company’s ADS at artificially inflated prices.

        347.    The Individual Defendants were individually and collectively responsible for

making the materially false and misleading statements and omissions alleged herein and having

engaged in a plan, scheme, and course of conduct designed to deceive Plaintiff, by virtue of having

made public statements and prepared, approved, signed, and/or disseminated documents that

contained untrue statements of material fact and/or omitted facts necessary to make the statements

therein not misleading.

        348.    As set forth above, Teva and the Individual Defendants made the materially false
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and misleading statements and omissions and engaged in the fraudulent activity described herein

knowingly and intentionally, or in such a deliberately reckless manner as to constitute willful deceit

and fraud upon Plaintiff, who purchased the Company’s ADS during the Relevant Period.

        349.    In ignorance of the materially false and misleading nature of Teva’s and the

Individual Defendants’ statements and omissions, and relying directly or indirectly on those

statements or upon the integrity of the market price for Teva’s ADS, Plaintiff purchased the

Company’s ADS at artificially inflated prices during the Relevant Period. But for the fraud,

Plaintiff would not have purchased the Company’s ADS at such artificially inflated prices. As set

forth herein, when the true facts were subsequently disclosed, the price of Teva’s ADS

declined precipitously, and Plaintiff was harmed and damaged as a direct and proximate result of

their purchases of the Company’s ADS at artificially inflated prices and the subsequent decline in

the price of that stock when the truth was disclosed.

        350.    By virtue of the foregoing, Teva and the Individual Defendants are liable to Plaintiff

for violations of Section 10(b) of the Exchange Act and Rule 10b-5.

                                             COUNT II
                         For Violations of Section 20(a) of the Exchange Act
                                 Against the Individual Defendants

        351.    Plaintiff repeats and re-alleges each and every allegation set forth above as if fully

set forth herein.

        352.    This Count is asserted pursuant to Section 20(a) of the Exchange Act against each

of the Individual Defendants.

        353.    As alleged above, the Company violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder by making materially false and misleading statements and

omissions in connection with the purchase or sale of Teva’s ADS, and by participating in a

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fraudulent scheme and course of business or conduct throughout the Relevant Period. This

fraudulent conduct was undertaken with scienter, and Teva is charged with the knowledge and

scienter of each of the Individual Defendants who knew of or acted with deliberate reckless

disregard of the falsity of the Company’s statements and the fraudulent nature of its scheme during

the Relevant Period.

       354.    As set forth above, the Individual Defendants were controlling persons of the

Company during the Relevant Period, due to their senior executive positions with the Company

and their direct involvement in the Company’s day-to-day operations, including their power to

control or influence the policies and practices giving rise to the securities violations alleged herein,

and exercised the same.

       355.    By virtue of the foregoing, the Individual Defendants each had the power to

influence and control, and did influence and control, directly or indirectly, the decision-making of

the Company, including the content of its public statements with respect to its operations, corporate

governance, and compliance with regulators.

       356.    The Individual Defendants were culpable participants in Teva’s fraud alleged

herein, by acting acted knowingly and intentionally, or in such a deliberately reckless manner as

to constitute willful fraud and deceit upon Plaintiff, who purchased the Company’s ADS during

the Relevant Period.

       357.    By reason of the foregoing, the Individual Defendants are liable to Plaintiff as

controlling persons of the Company in violation of Section 20(a) of the Exchange Act.

XI.    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays for judgment as follows:

       358.    Declaring and determining that Defendants violated the Exchange Act by reason of

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    the acts and omissions alleged herein;

           359.      Awarding Plaintiff compensatory damages against all Defendants, jointly and

    severally, in an amount to be proven at trial together with prejudgment interest thereon;

           360.      Awarding Plaintiff its reasonable costs and expenses incurred in this action,

    including but not limited to, attorneys’ fees and costs incurred by consulting and testifying expert

    witnesses; and

           361.      Granting such other and further relief as the Court deems just and proper.

    XII.   JURY TRIAL DEMANDED

           Plaintiff hereby demands a trial by jury.

Dated: April 30, 2019

                                                     Respectfully submitted,

                                                     /s/ David A. Slossberg
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